Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 1 of 78 Page ID #:7




                  EXHIBIT A
          Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 2 of 78 Page ID #:8

Electronically FILED by Superior Court of California, County of Los Angeles on 03/07/2022 04:56 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy Clerk
                                                                                   22STCV08211

                                                                                                                                                                              M-100
                                                           MM                                                                                    FO CO          E ONL
                                                                                                                                             ( OLO PA A      O DE LA CO       E)
                                             (CI ACION J DICIAL)
           ICE    DEFE DA :
       (A I O AL DEMANDADO):
       CERTAIN UNDERWRITERS AT LLOYD S, LONDON; REEL MEDIA INSURANCE SERVICES,
       LLC, and DOES 1 to 50, incl si e,
            A E BEI G ED B   LAI IFF:
       (LO E    DEMANDANDO EL DEMANDAN E):
       SPRING AWAKENING, LLC,

        NOTICE! Yo ha e been s ed. The co rt ma decide against o                  itho t o r being heard nless o respond ithin 30 da s. Read the information
        belo .
           Yo ha e 30 CALENDAR DAYS after this s mmons and legal papers are ser ed on o to file a ritten response at this co rt and ha e a cop
        ser ed on the plaintiff. A letter or phone call ill not protect o . Yo r ritten response m st be in proper legal form if o          ant the co rt to hear o r
        case. There ma be a co rt form that o can se for o r response. Yo can find these co rt forms and more information at the California Co rts
        Online Self-Help Center (        .c         .ca.    /        ), o r co nt la librar , or the co rtho se nearest o . If o cannot pa the filing fee, ask the
        co rt clerk for a fee ai er form. If o do not file o r response on time, o ma lose the case b defa lt, and o r ages, mone , and propert ma
        be taken itho t f rther arning from the co rt.
           There are other legal req irements. Yo ma ant to call an attorne right a a . If o do not kno an attorne , o ma ant to call an attorne
        referral ser ice. If o cannot afford an attorne , o ma be eligible for free legal ser ices from a nonprofit legal ser ices program. Yo can locate
        these nonprofit gro ps at the California Legal Ser ices Web site (           .a       ca       a. ), the California Co rts Online Self-Help Center
        (     .c         .ca.   /         ), or b contacting o r local co rt or co nt bar association. NOTE: The co rt has a stat tor lien for ai ed fees and
        costs on an settlement or arbitration a ard of $10,000 or more in a ci il case. The co rt's lien m st be paid before the co rt ill dismiss the case.
          AVISO! L a           a a .S                                 30 a , a c                  c           c     a      c c a             .L a a          ac    a
        c       ac .
           T      30 D AS DE CALENDARIO                                              a c ac         a          a      aa        a   a           a         c           a
        c         ac                         ac aa            a a . U a ca a           a a a a             ca                .S           a        c                   a
                 a      a c     c            a         c          ca       ac     .E        b          a a            a                  a a aa                    a.
        P          c     a               a          ac                   ac           C           A    a     a C           Ca      a(      . c      .ca.    ),    a
        bb      ca                  c     a          ac                         c ca. S                 a a ac a                 ac ,     aa      c a          ac
                         a             c         a       c a .S                a              aa          ,                  ca        c                 ac
            a             ,         b                 a         c a.
           Ha                        a .E         c       ab         a    a    ab a               aa        .S      c    c a    ab a ,             a a a            c
                   a ab a      .S                a a a      ab a ,           b         c     ac                      aa b           c        a       a
              a a            c      a                    c .P           c    a                                 c                b   Ca       aL a S         c ,
        (     .a        ca      a. ),          C          A    a      a C           Ca       a, (     . c      .ca.    )                 c ac c          ac
        c            ab a         ca . AVISO: P           , ac                c a ca a a c a                      c                                 a a         b
        c a           c     ac        $10,000               a      cb a       a         ac            ac c              ab a          ca            c c .T
          a a        a a          ac      a               ac           a      c a      ca .
       The name and address of the co rt is:                                                        CASE NUMBER: (N                                                Ca       ):
       (E      b          cc     ac        ): LOS ANGELES SUPERIOR COURT
       111 N. Hill Street
       Los Angeles, CA 90012
       The name, address, and telephone n mber of plaintiff's attorne , or plaintiff itho t an attorne , is: (E b , a                                       cc
                       ab a            a a ,              a a                     ab a , ):
       Talitha S. Galst an, Kabateck LLP, 633 West 5th Street, S ite 3200, Los Angeles, CA 90071 Tel. 213 217-5000
       DATE:                                                                         Clerk, b                                                                              , Dep t
       (F c a)                                                                       (S c a )                                                                              (A      )
       (F                  c                ,    Proof of Ser ice of S mmons (          POS-010).)
       (Pa a       ba         a       ac a                  a     Proof of Ser ice of S mmons, (POS-010)).
                                             ICE    HE E             E ED: Yo are ser ed
         [SEAL]
                                                 1.           as an indi id al defendant.
                                                 2.           as the person s ed nder the fictitio s name of (                  c ):

                                                 3.           on behalf of (specif ):
                                                        nder:       CCP 416.10 (corporation)                                           CCP 416.60 (minor)
                                                                    CCP 416.20 (def nct corporation)                                   CCP 416.70 (conser atee)
                                                                    CCP 416.40 (association or partnership)                            CCP 416.90 (a thori ed person)
                                                                    other (    c ):
                                                 4.           b personal deli er on ( a ):                                                                                         1   1
       Form Adopted for Mandator Use
       J dicial Co ncil of California
                                                                                         MM                                                      Code of Ci il Proced re
                                                                                                                                                                           .c
                                                                                                                                                                              412.20, 465
                                                                                                                                                                                  .ca.
       SUM-100 [Re . J l 1, 2009]




                                                                                                                                                   Exhibit A - 001
          Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 3 of 78 Page ID #:9

                                                                                   22STCV08211
                                     Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Lia Martin
Electronically FILED by Superior Court of California, County of Los Angeles on 03/07/2022 04:56 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy Clerk




                      1 Brian S. Kabateck, SBN 152054
                         bsk@kbkla ers.com
                      2 Shant A. Karnikian, SBN 285048
                         sk@kbkla ers.com
                      3 Talitha S. Galst an, SBN 334289
                          tg@kbkla ers.com
                      4 KABA ECK LLP
                        633 West 5th Street, S ite 3200
                      5 Los Angeles, California 90071
                        Tel: (213) 217-5000
                      6 Fa : (213) 217-5010

                      7 Attorne s for Plaintiff SPRING AWAKENING, LLC.

                      8

                      9                                    PE IO CO                       OF HE               A E OF CALIFO NIA
                    10                            CO N             OF LO ANGELE                          NLIMI ED J                  I DIC ION
                    11

                    12 SPRING AWAKENING, LLC,                                                            CASE NO.
                    13                            Plaintiff,                                             COMPLAIN FO DAMAGE FO :
                    14                   s.                                                                   1. B EACH OF CON AC ;
                                                                                                              2. B EACH OF IMPLIED
                    15 CERTAIN UNDERWRITERS AT LLOYD S,                                                          CO ENAN OF GOOD FAI H
                       LONDON; REEL MEDIA INSURANCE                                                              AND FAI DEALING
                    16 SERVICES, LLC, and DOES 1 to 50,                                                          (IN   ANCE BAD FAI H)
                       incl si e,
                    17
                                  Defendants.
                    18                                                                                   JURY TRIAL DEMANDED
                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28

                                                                        PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                                                                                   Exhibit A - 002
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 4 of 78 Page ID #:10




      1          Plaintiff SPRING AWAKENING, LLC, b their ndersigned co nsel, allege as follo s:

      2                                    PA     IE AND EN I IE :

      3                                              P         :

      4          1.     Plaintiff SPRING AWAKENING, LLC ( Plaintiff ) is and at all rele ant times

      5    as, an Illinois Limited Liabilit Compan , ith citi enship in the State of California, ith its

      6 principal place of b siness (or ner e center ) in Be erl Hills, California.

      7                                             D              :

      8          2.     Defendant CERTAIN UNDERWRITERS AT LLOYD S, LONDON

      9 ( LLOYDS ) is, and at all rele ant times as, an nkno n entit , engaged in the b siness of

     10 ins rance in the State of California.

     11          3.     Defendant REEL MEDIA INSURANCE SERVICES, LLC ( REEL ) is, and at

     12 all rele ant times as, a Massach setts Limited Liabilit Compan doing b siness in the cit of

     13 B rbank, State of California, and pon information and belief, ith citi enship in the State of

     14 California and its principal place of b siness (or ner e center ) in B rbank, California.

     15          4.     Plaintiff does not kno the tr e names and capacities, hether indi id al,

     16 associate, or other ise, of Defendants DOES 1 thro gh 50, and therefore designate those

     17 Defendants b s ch fictitio s names. Each of the Defendants s ed herein as a DOE is legall

     18 responsible in some manner for the e ents and happenings referred to herein and pro imatel

     19 ca sed the inj ries s ffered b the Plaintiff. Plaintiff ill amend this complaint to allege the tr e

     20 names and capacities of these DOE Defendants hen the same becomes kno n to Plaintiff.

     21          5.     LLOYDS and REEL are hereinafter referred collecti el referred to as Ins rer-

     22 Defendants . Upon information and belief, Ins rer-Defendants jointl iss ed to Plaintiff the

     23   Ins rance Binder (attached hereto as E hibit A ) on or abo t September 27, 2021. Upon

     24 information and belief, Ins rer-Defendants also jointl iss ed to Plaintiff the E idence of

     25 Co er (attached hereto as E hibit B ) on or abo t September 27, 2021. Collecti el , these

     26 doc ments comprise the contract hereinafter referred to as the Polic . Upon information and

     27 belief, Plaintiff s contract for ins rance is ith both LLOYDS and REEL.

     28          6.     Upon information and belief, LLOYDS and REEL ha e entered into an
                                                          1
                                       PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                        Exhibit A - 003
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 5 of 78 Page ID #:11




      1 agreement herein REEL retains certain independent d ties and a thorit          ith respect to the

      2 Polic and the Propert in the e ent of a loss. Upon information and belief, in e change for a

      3 share of premi ms paid b Plaintiff, REEL s d ties and a thorities incl de b t not limited to:

      4 iss ing the Polic , managing and directing the adj sting of claims made nder the Polic ,

      5 making co erage decisions regarding claims made nder the Polic , and hiring third parties

      6    hen adj sting the loss.

      7          7.     Upon information and belief, p rs ant to the arrangement bet een LLOYDS and

      8 REEL, LLOYDS and REEL acted in conj nction ith each other to iss e The Polic , share in

      9 the risk nder ritten b the polic , handle claims made nder the Polic , incl ding the claim

     10 made arising o t of the Loss. Accordingl , pon information and belief, LLOYDS and REEL

     11 acted in conj nction and conspired ith each other at all rele ant times and d ring all actions at

     12 iss e in this la s it.

     13                                  J    I DIC ION AND EN E:

     14          8.     J risdiction is proper p rs ant to Cal. Code Ci . Proc.    410.10, 410.50 and

     15 1060.

     16          9.     Ven e is proper in this j dicial district p rs ant to Cal. Code Ci . Proc.   395

     17 beca se, based on information and belief, the Polic     as iss ed in this co nt b REEL and the

     18 alleged rongs occ rred in this co nt .

     19                                   GENE AL ALLEGA ION :

     20          10.    Plaintiff. Plaintiff r ns the Spring A akening M sic Festi al in Chicago, Illinois

     21    hich as set to take place on September 21, 2021 to October 3, 2021 (the E ent ).

     22          11.    The Polic . In or aro nd September 27, 2021, Plaintiff entered into a contract for

     23 ins rance (the Polic ) ith Ins rer-Defendants hich pro ided co erage for E ent

     24 Cancellation for the period of September 21, 2021 to October 3, 2021, hich pro ides co erage

     25 for, among other things, interr ption of the E ent.

     26          12.    The Loss. On or abo t October 2, 2021, inclement eather at the E ent res lted

     27 in co erage nder the polic being triggered (the Loss ). As a res lt of the Loss, Plaintiff is

     28 o ed benefits nder the Polic .
                                                           2
                                      PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                         Exhibit A - 004
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 6 of 78 Page ID #:12




      1          13.    Effect on Ticket Sales. The first time that rain as a potential for the e ent as

      2 September 27, 2021. Ticket sales slo ed based on the forecasted rain. To combat this, Plaintiff

      3 inc rred costs for additional marketing plans to tr to mitigate the impact on sales. Digital

      4 billboards, mobile billboard tr cks, radio ad ertisements, increased paid and boosted social

      5 media posts and additional street team ere sec red to r n thro gh the remainder of the eek.

      6 The probabilit of rain contin ed to gro and b September 29, 2021, j st da s before the e ent

      7    as set to begin, there as a 90% chance of rain on October 3, 2021.

      8          14.    E ac ation Plan Update. B September 30, 2021, rain as e tremel likel             ith

      9 potential for se ere eather. As a res lt, Plaintiff sec red additional e ac ation locations at

     10 Veriport Chicago, Life Sa ers Ch rch, and ComEd Rec Center. Additional staffing and cleaning

     11    ere sec red for those locations. The e ac ation plan as re ie ed b a sec rit cons ltant and

     12 s bmitted to cit agencies. Additional tents ere sec red to co er the stages, and m lch as

     13 ordered to mitigate potentiall dangero s conditions in the park ca sed b standing ater.

     14          15.    Inclement Weather. On the first da of the festi al, October 2, 2021, festi al

     15 management monitored radar closel          ia m ltiple eather monitoring reso rces. At 3 p.m.,

     16 festi al management made the call to e ac ate the site and pa se programming, hich the cit

     17 officials on site agreed as the best co rse of action to take.

     18          16.    Aro nd 5:30 p.m. on October 2, 2021, it as determined that the festi al as safe

     19 to res me programming. The front gates recei ed e tremel high ol me of fans hich ca sed

     20 dela s d e to the time cons ming three-step screening process for COVID-19 compliance,

     21 sec rit bag check, and ticket scan. The e ac ation ca sed dela s in the artists sets and m ltiple

     22 artists sets ere cancelled completel or significantl red ced to compl         ith the 10 p.m.

     23 c rfe .

     24          17.    On the second da of the festi al, October 3, 2021, the festi al had a dela ed start

     25 as the festi al management and cit officials tracked the eather conditions. Once conditions

     26 impro ed, the festi al opened doors aro nd 2:30 p.m. Ho e er, the gro nds ere flooded and

     27 m dd and man festi al ser ices like the merchandise tent, food and be erage tents, and e en

     28 stages ere diffic lt for fans to access.
                                                            3
                                       PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                         Exhibit A - 005
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 7 of 78 Page ID #:13




      1         18.     Claim S bmission. Plaintiff timel s bmitted its claim in accordance ith the

      2 Polic . Plaintiff complied ith Ins rer-Defendants req ests for information and doc ments in

      3 s pport of the claim. Plaintiff pro ided Ins rer-Defendants all reasonabl and readil a ailable

      4 information and doc ments reasonabl necessar for, and req ested b , Ins rer-Defendants to

      5 e al ate the claim and disb rse prompt pa ments o ed to Plaintiff.

      6         19.     Bad Faith Claims Handling. Ins rer-Defendants, in bad faith, failed to

      7 ackno ledge that the Loss is co ered, failed to pa benefits o ed nder the Polic for the claim,

      8 and/or ha e dela ed pa ment of the claim, nreasonabl and/or itho t proper ca se, in breach

      9 of the terms of the Polic and the implied co enant of good faith and fair dealing, and in

     10   iolation of one or more stat tor pro isions nder the California Ins rance Code and California

     11 Code of Reg lations, for e ample. See, e.g., Ins. Code     790.03(h)(5); Cal. Code Regs., tit. 10,

     12     2695, et seq. This incl des, b t is not necessaril limited to

     13                 a. Unpaid and/or Untimel Paid Claims. To date, Ins rer-Defendants ha e failed

     14                     to pa Plaintiff s claim for damages Plaintiff s stained as a res lt of the Loss.

     15                 b. Inadeq ate In estigations. Ins rer-Defendants ha e performed an inadeq ate

     16                     in estigation and/or nreasonabl relied pon the inadeq ate in estigation,

     17                     opinions, and/or information of others, in dela ing and/or failing to pa the

     18                     claim. Ins rer-Defendants kne or sho ld ha e kno n that the in estigations,

     19                     opinions and/or information of others, pon hich the relied, ere

     20                     inadeq ate.

     21                 c. Unq alified Opinions. Ins rer-Defendants ha e relied pon the opinions of

     22                     indi id als ho lack the e pertise, training, or q alifications to render those

     23                     opinions in their dela and/or fail re to pa claims. Ins rer-Defendants kne

     24                     or sho ld ha e kno n that these indi id als lack the req isite q alifications to

     25                     render those opinions.

     26         20.     Ins rer-Defendants Ca sed Damage to Plaintiff. As a res lt of Ins rer-

     27 Defendants bad faith claims handling, Plaintiff has s stained not onl damage in form of npaid

     28 benefits o ed nder the Polic , b t also e tra-contract al bad faith damages as a conseq ence of
                                                           4
                                       PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                         Exhibit A - 006
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 8 of 78 Page ID #:14




      1 Ins rer-Defendants breach. Plaintiff s damages incl ded: losses res lting from the fail re to pa

      2 the claim, pl s interest; losses res lting from the fail re to timel pa the claim; reasonable

      3 attorne s fees and costs inc rred to reco er benefits o ed nder the Polic ; and f rther

      4 conseq ential loss hich contin e to accr e.

      5          21.     P niti e Damages Are Warranted. As detailed abo e, Ins rer-Defendants ha e

      6 acted ith malice, oppression and fra d. Ins rer-Defendants intended to ca se Plaintiff harm

      7 and/or engaged in despicable cond ct ith a illf l and conscio s disregard for the rights of

      8 others, incl ding Plaintiff. Ins rer-Defendants engaged in despicable cond ct that s bjected

      9 others, incl ding Plaintiff, to cr el and nj st hardship in conscio s disregard of their rights.

     10 Ins rer-Defendants acted ith deceit, intentionall misrepresented, and/or concealed a material

     11 fact kno n to Ins rer-Defendants, ith the intent to depri e others, incl ding Plaintiff, of their

     12 legal rights, and/or other ise ca se them harm. The ins rance ind str generates billions of

     13 dollars ann all from premi ms paid b polic holders, like Plaintiff. There are tho sands of

     14 b sinesses and b siness o ners ho ha e been placed in similar sit ations, ith no reco rse.

     15 Ins rance is being sold as a safet blanket for the er b sinesses that people in est nearl all

     16 their time and effort into. As a res lt, hen the lose their b siness and t rn to that safet blanket

     17 of ins rance the faithf ll paid to plan for disasters and misfort nes s ch as those described

     18 herein, the are de astated to find o t that the ins rer ho promised co erage, a speed claims

     19 promise, and pa ment for losses nder the polic , has taken an ad ersar position to ards them

     20 and looked to find an reason, at all, to den , dela , and ndermine an chance at co erage,

     21 pa ment, or fairness. Kno ing that b siness o ners, like Plaintiff, o ld go thro gh this

     22 de astation and nonetheless go ging polic holder in their dire time of need, Ins rer-Defendants

     23 ha e acted ith malice, oppression and fra d

     24                                     FI       CA   E OF AC ION

     25                             (B           C              A D              )

     26          22.    Incorporation b Reference. Plaintiff hereb re-alleges and incorporates the

     27 preceding paragraphs as tho gh set forth in f ll herein.

     28          23.    Contract. Plaintiff and Ins rer-Defendants agreed to be bo nd b the terms of the
                                                           5
                                         PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                         Exhibit A - 007
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 9 of 78 Page ID #:15




      1 ins rance contract, the Polic , in effect at the time of the Loss.

      2           24.    Performance/E c se. Plaintiff performed all, or s bstantiall all, of the rele ant

      3 material conditions of the contract, e cept to the e tent that Plaintiff as e c sed from ha ing to

      4 perform those conditions as a res lt of, among other things, Ins rer-Defendants bad faith

      5 cond ct in breach of the contract. Ins rer-Defendants recei ed all d e and o ing premi ms

      6    nder the terms of the Polic . Plaintiff ga e Ins rer-Defendants access to all rele ant information

      7 and materials that the req ested in order to e al ate the claims Plaintiff s bmitted for the

      8 damage s ffered as a res lt of the Loss.

      9           25.    Breach. Ins rer-Defendants breached the terms of the Polic b failing to pa ,

     10    nderpa ing, and/or dela ing pa ment of monies o ed for the claim Plaintiff s bmitted as a

     11 res lt of the Loss.

     12           26.    Res ltant Damages. Ins rer-Defendants breach is a s bstantial factor in ca sing

     13 Plaintiff s harm      incl ding, b t not limited to, losses res lting from the fail re to pa the claim,

     14 pl s interest; losses res lting from the fail re to timel pa the claim; the costs inc rred to obtain

     15 Ins rer-Defendants compliance ith the terms of the contract (incl ding attorne s fees and

     16 litigation costs and/or professional fees for cons ltants); and f rther incidental and conseq ential

     17 loss hich contin e to accr e. Plaintiff has and ill contin e to s stain damages in an amo nt

     18 according to proof at trial.

     19                                      ECOND CA         E OF AC ION

     20      (F    B               I        C             G       F          F    D        (I           B

     21                                       F    )A      A D               )

     22           27.    Incorporation b Reference. Plaintiff hereb re-alleges and incorporates the

     23 preceding paragraphs as tho gh set forth in f ll herein.

     24           28.    Contract/Implied Co enant. Plaintiff and Ins rer-Defendants agreed to be bo nd

     25 b the terms of the ins rance contract, the Polic , in effect at the time of the Loss. The Polic

     26 contained an implied co enant of good faith and fair dealing nder hich Ins rer-Defendants

     27 agreed to: perform their contract al obligations in good faith; to deal fairl      ith Plaintiff; and to

     28 refrain from nreasonabl depri ing Plaintiff of benefits d e.
                                                              6
                                         PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                            Exhibit A - 008
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 10 of 78 Page ID #:16




      1          29.     Performance/E c se. Plaintiff performed all, or s bstantiall all, of the rele ant

      2 material conditions of the contract, e cept to the e tent that Plaintiff as e c sed from ha ing to

      3 perform those conditions as a res lt of, among other things, Ins rer-Defendants bad faith

      4 cond ct in breach of the Polic . Ins rer-Defendants recei ed all d e and o ing premi ms nder

      5 the terms of the Polic . Plaintiff ga e Ins rer-Defendants access to all rele ant information and

      6 materials that the req ested in order to e al ate the claim Plaintiff s bmitted for the damage

      7 s ffered as a res lt of the Loss.

      8          30.     Breach of Good Faith and Fair Dealing D t . Ins rer-Defendants tortio sl and

      9 contract all breached the implied co enant of good faith and fair dealing hen the

     10    nreasonabl denied or ithheld benefits, nreasonabl dela ed pa ment, and/or nreasonabl

     11 de al ed losses to partiall den benefits d e to Plaintiff. Despite Plaintiff s repeated demands

     12 for pa ment and emplo ment of representati es, co nsel, and/or cons ltants to represent them

     13 and facilitate the claims process, Ins rer-Defendants ha e ref sed, repeatedl , to iss e pa ments

     14 d e and ha e contin ed to engage in ongoing and nla f l ins rance practices to f rther their

     15 economic interests and iolate Plaintiff s rights. This cond ct incl des, b t is not limited to, the

     16 cond ct alleged in the Complaint and as follo s:

     17                  a. Unreasonabl and nj stifiabl failing to pa claims;

     18                  b. Hiring nq alified and/or biased cons ltants to e al ate losses and damages;

     19                  c. Failing to perform competent and/or complete claims in estigation, incl ding

     20                     b t not limited to estimating of losses;

     21                  d. Deliberatel , nj stifiabl , and nreasonabl failing to adopt and/or

     22                     implement reasonable standards for the prompt processing of Plaintiff s

     23                     claims, kno ing that the dela : o ld pre ent or impede on Plaintiff s p rs it

     24                     of f ll polic benefits d e; and o ld fr strate, press re, and pers ade

     25                     Plaintiff into dropping or minimi ing their claims;

     26                  e. Deliberatel , nj stifiabl , and nreasonabl failing to attempt in good faith

     27                     to reach a prompt, fair, and eq itable settlement of Plaintiff s claims in order

     28                     to disco rage Plaintiff from p rs ing f ll polic benefits;
                                                           7
                                       PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                          Exhibit A - 009
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 11 of 78 Page ID #:17




      1                  f. Not attempting in good faith to effect ate prompt, fair, and eq itable

      2                       settlement of Plaintiff s claims hen the amo nt of losses ha e been

      3                       reasonabl clear;

      4                  g. Ref sing to pa an or adeq ate ins rance benefits hich a reasonable person

      5                         o ld ha e belie ed Plaintiff as entitled to recei e;

      6                  h. Failing to pro ide promptl a reasonable e planation of the basis relied on in

      7                       the ins rance polic , in relation to the facts or applicable la , for the denial

      8                       and/or rejection of Plaintiff s claims;

      9                  i. Deliberatel , nreasonabl , and nj stifiabl failing to timel and f ll pa

     10                       Plaintiff s claims;

     11                  j. Failing to thoro ghl and objecti el in estigate Plaintiff s claims;

     12                  k. Compelling Plaintiff to inc r legal e penses to obtain ins rance benefits

     13                         hich Ins rer-Defendants ha e kno n, or reasonabl sho ld ha e kno n,

     14                         ere o ed to Plaintiff; and

     15                  l.    Other acts or omissions of hich Plaintiff is presentl     na are and hich

     16                         ill be sho n according to proof at the time of trial.

     17          31.     Res ltant Damages. Ins rer-Defendants breach is a s bstantial factor in ca sing

     18 Plaintiff s harm      incl ding, b t not limited to, losses res lting from the fail re to pa the claim,

     19 pl s interest; losses res lting from the fail re to timel pa the claim; the costs inc rred to obtain

     20 Ins rer-Defendants compliance ith the terms of the contract (incl ding attorne s fees and

     21 litigation costs and/or professional fees for cons ltants); and f rther incidental and conseq ential

     22 loss hich contin e to accr e. Plaintiff has and ill contin e to s stain damages in an amo nt

     23 according to proof at trial.

     24          32.     P niti e Damages. As detailed abo e, Defendants ha e acted ith malice,

     25 oppression and fra d.

     26          33.     Ins rer-Defendants intended to ca se Plaintiff harm and/or engaged in despicable

     27 cond ct ith a illf l and conscio s disregard for the rights of others, incl ding Plaintiff.

     28 Ins rer-Defendants engaged in despicable cond ct that s bjected others, incl ding Plaintiff, to
                                                             8
                                         PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                             Exhibit A - 010
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 12 of 78 Page ID #:18




      1 cr el and nj st hardship in conscio s disregard of their rights. Ins rer-Defendants acted ith

      2 deceit, intentionall misrepresented, and/or concealed a material fact kno n to Ins rer-

      3 Defendants, ith the intent to depri e others, incl ding Plaintiff, of propert , their legal rights,

      4 and/or other ise ca se them harm

      5
                                                P A E FO             ELIEF:
      6
                 WHEREFORE, Plaintiffs pra for j dgment as follo s:
      7
                     1. That Defendants m st be fo nd jointl and se erall liable to Plaintiff in an
      8
                         amo nt to be determined at trial;
      9
                     2. Compensator damages;
     10
                     3. General damages;
     11
                     4. Conseq ential and incidental damages;
     12
                     5. Pre-j dgment and post-j dgment interest as allo ed b la ;
     13
                     6. Costs according to proof;
     14
                     7. For e emplar and/or p niti e damages as to the Second Ca se of Action for
     15
                         Ins rance Bad Faith;
     16
                     8. Attorne s fees p rs ant to the decision in Brandt . S perior Co rt (Standard
     17
                         Ins. Co.), (1985) 37 Cal.3d 813, 817; and
     18
                     9. S ch other and f rther legal and eq itable relief as the Co rt deems j st and
     19
                         proper.
     20

     21

     22

     23                                                            KABA ECK LLP
     24

     25 Dated: March 7, 2022                                 B :
                                                                   Brian S. Kabateck
     26                                                            Shant A. Karnikian
                                                                   Talitha S. Galst an
     27                                                            Attorne s for Plaintiff
     28
                                                             9
                                       PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                             Exhibit A - 011
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 13 of 78 Page ID #:19




      1                                DEMAND FO J                     IAL

      2        Plaintiffs hereb demand a trial b j r .

      3

      4

      5                                                        KABA ECK LLP
      6

      7 Dated: March 7, 2022                             B :
                                                               Brian S. Kabateck
      8                                                        Shant A. Karnikian
                                                               Attorne s for Plaintiff
      9

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                                    PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                         Exhibit A - 012
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 14 of 78 Page ID #:20




                                 EXHIBIT A

                                                                 Exhibit A - 013
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 15 of 78 Page ID #:21



                                                                Reel Media Insurance Services, LLC
                                                                  3400 W. Olive Avenue, Suite 320
                                                                         Burbank, CA 91505
                                                                       CA License No. 0J08627
                                                              Phone: (818) 859-7810 Fax: (818) 714-8197




                                              INSURANCE BINDER
DATE ISSUED: September 27, 2021
INSURED:                                                 BROKER:
Spring Awakening, LLC                                    Liberty Company Insurance Brokers - Jon Axel
205 W. Goeth Street                                      1122 Meridian Avenue,
Chicago, IL 60610                                        San Jose, CA 95125
INSURER:
Certain Underwriters at Lloyd's,London                   COVERAGE: Event Cancellation
Non-Admitted
A
POLICY NO.: B1161S21W4252                                POLICY PERIOD: 9/21/2021 TO 10/3/2021

12:01 A.M. STANDARD TIME AT THE LOCATION ADDRESS OF THE NAMED INSURED. THIS INSURANCE BINDER WILL BE TERMINATED
AND SUPERSEDED UPON DELIVERY OF THE FORMAL POLICY(IES) ISSUED TO REPLACE IT.

LIMITS OF LIABILITY:                     $4,536,661.00

DEDUCTIBLE:                              $500,000.00


PREMIUM:
Coverage                                 Premium              Commission (%)
Contingency                              $117,489.84          15.00
Total Premium                            $117,489.84
Fees:
Surplus Lines Tax                        $4,112.00
Stamping Office Fee                      $88.00
TRIA Premium                             REJECTED
TOTAL:                                   $121,689.84


REMARKS:
- Surplus lines regulations, taxes and fees in the state of issue; Signed Surplus Lines Forms required at
binding.

- This policy shall be governed by and construed in accordance with the laws of the state of New York, U.S.A




                                                                                              Exhibit A - 014
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 16 of 78 Page ID #:22



PREMIUM PAYMENT IS DUE UPON ISSUANCE OF BINDER UNLESS OTHERWISE STIPULATED.


 THE TERMS AND CONDITIONS OF THIS CONFIRMATION OF INSURANCE MAY NOT COMPLY WITH THE SPECIFICATIONS
 SUBMITTED FOR CONSIDERATION. PLEASE READ THIS CONFIRMATION CAREFULLY AND COMPARE IT WITH ANY QUOTE AND
 SUBMISSION DOCUMENTS AND REVIEW THE POLICY FORMS FOR THE ACTUAL COVERAGES PROVIDED.

 IN ACCORDANCE WITH YOUR INSTRUCTIONS, AND IN RELIANCE UPON THE STATEMENTS MADE BY YOU IN THE INSURED'S
 APPLICATION/SUBMISSION, WE HAVE OBTAINED INSURANCE AT YOUR REQUEST AS OUTLINED:



 CANCELLATION: THIS POLICY IS SUBJECT TO THE CANCELLATION PROVISIONS AS FOUND IN THE POLICY(IES) OR
 CERTIFICATE(S) CURRENTLY IN USE BY THE INSURER. THE INSURANCE EFFECTED UNDER THE INSURER'S BINDER CAN BE
 CANCELLED BY THE INSURER (SUBJECT TO STATUTORY REGULATIONS) BY MAILING, TO THE INSURED AT THE ADDRESS
 STATED ON THE FACE OF THIS CONFIRMATION OF INSURANCE, WRITTEN NOTICE STATING WHEN SUCH CANCELLATION
 SHALL BE EFFECTIVE. IN THE EVENT OF CANCELLATION BY THE INSURED, THE EARNED PREMIUM WOULD BE SUBJECT TO
 THE MINIMUM PREMIUM IF APPLICABLE.

 THIS CONFIRMATION OF INSURANCE IS ISSUED BASED UPON THE INSURER'S AGREEMENT TO BIND AND IS ISSUED BY THE
 UNDERSIGNED WITHOUT ANY LIABILITY WHATSOEVER AS AN INSURER.




                                                                                          Exhibit A - 015
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 17 of 78 Page ID #:23



 [Sections.STATE1]




                                                                 Exhibit A - 016
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 18 of 78 Page ID #:24




                                 EXHIBIT B

                                                                 Exhibit A - 017
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 19 of 78 Page ID #:25




                                                 E ide ce f C                e

                                         Spring Awakening LLC
                                                   Event Cancellation Insurance
                                                    Policy No: B1161S21W4252

                                                      Sport and Entertainment




                                                                 Exhibit A - 018
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 20 of 78 Page ID #:26



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        S      A a                              , LLC
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        C a ,
        IL 60610




        EOC N .B1161S21W4252



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                                                                                                                                                                                                                 Exhibit A - 019
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 21 of 78 Page ID #:27


 B1161S21W4252                                                                         Howden UK Group Limited
                                                                                        Lloyd’s Broker HSG 1161

                                               RISK DETAILS


 Type:                   Event Cancellation Insurance

 Insured:                Spring Awakening, LLC

 Address of Insured:     205 W. Goeth Street, Chicago, IL 60610

 Period of Insurance:    From:     21st September 2021
                         To:       3rd October 2021
                         Both Days Inclusive Local Standard Time at the Address of the Insured Event(s)

 Interest:               Subject always to the terms, conditions, limitations and exclusions contained herein or
                         endorsed hereon this Contract of Insurance is to indemnify the Assured for their
                         Ascertained Net Loss of Revenue should any Insured Event(s) specified in the Risk
                         Details be necessarily Cancelled, Abandoned, Postponed, Interrupted, Curtailed or
                         Relocated

 Insured Event(s):       Spring Awakening Autumn Equinox, Live Music Festival

 Event Date(s):          2nd and 3rd October 2021 both days inclusive

 Event Venue(s)          Addams Medill Park, 14th & Loomis, 1310 W. 14th Street, Chicago, IL 60608

 Limit of Indemnity:     Up to USD 4,536,661 in the aggregate

 Deductible:             USD 500,000

 Conditions:             As defined in the Lloyd’s Contingency Non-Appearance and Cancellation Wording LMA
                         3089 as attached and as amended as follows and by any attached Supplemental
                         Clauses

 Supplemental Clauses:   The following clauses will attach to and form part of this contract:

                                Adverse weather outdoor event extension LMA5290

                                Contingency Communicable Disease Exclusion LMA 5508a

                                Contingency Coronavirus Exclusion LMA5507a

                                Terrorism extension (including threat) as attached

                                Civil Commotion clause as attached

                                Cyber Exclusion – LMA 5460

                                Service of Suit Clause (U.S.A) as attached

                                Sanctions limitations and exclusions Clause LMA3100

 Express Warranties:     It would be warranted that all stages are protected from weather on three sides and
                         above and that all electrics are protected from weather to the required industry
                         standard.

 Conditions Precedent:   As may exist in the policy wording or attached clauses

 Notices:                None



                                                                                                ExhibitPage
                                                                                                        A - 2020
                                                                                                              of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 22 of 78 Page ID #:28


 B1161S21W4252                                                                        Howden UK Group Limited
                                                                                       Lloyd’s Broker HSG 1161

 Subjectivities:           None

 Choice of Law And
 Jurisdiction:             This Contract shall be governed by and construed in accordance with the Law of the
                           state of New York and the courts of New York state shall have exclusive jurisdiction.

 Premium:                  USD 117,489.84

 Premium Payment
 Terms:                    None

 Taxes Payable By The
 Reinsured and
 Administered By
 Insurers:                 Not Applicable

 Recording, Transmitting
 and Storing of
 Information:              Where Howden UK Group Limited maintains risk and claim data/information/ documents
                           Howden UK Group Limited may hold data/information/documents electronically.

 Insurer Contract
 Documentation:            This document details the contract terms entered into by the Insurer(s), and constitutes
                           the contract document.

                           For contract changes the Contract Endorsement(s) signed by Insurer(s) shall form the
                           evidence of changes agreed.

                           Howden UK Group Limited are authorised by Insurer(s) to provide the Insured with
                           copies of all London market registered clauses applicable to this contract.

                           In respect of any IUA Companies participating on this contract, XIS authorised to sign
                           as IS5 Slip Policy.




                                                                                              ExhibitPage
                                                                                                      A - 3021
                                                                                                            of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 23 of 78 Page ID #:29


    B1161S21W4252                                                                         Howden UK Group Limited
                                                                                           Lloyd’s Broker HSG 1161

                                                   INFORMATION

Information made available to and seen by the Lead Insurer on behalf of all subscribing Insurers including the
following:


•        Content of Emails on file seen and noted by insurers




                                                                                                  ExhibitPage
                                                                                                          A - 4022
                                                                                                                of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 24 of 78 Page ID #:30


 B1161S21W4252                                                                           Howden UK Group Limited
                                                                                          Lloyd’s Broker HSG 1161

                                                   WORDING



Lloyd’s Event Cancellation Policy – LMA 3089
1. INSURING CLAUSE

                     Subject always to the terms, conditions, limitations and exclusions contained herein or endorsed
                     hereon:
             1.1     This Insurance is to indemnify the Assured for their Ascertained Net Loss should the Insured
                     Event(s) be necessarily Cancelled, Abandoned, Postponed, Interrupted, Curtailed or Relocated,
                     which necessary Cancellation, Abandonment, Postponement, Interruption, Curtailment or
                     Relocation is the sole and direct result of a cause not otherwise excluded which occurs during
                     the period of insurance and is beyond the control of both the Assured and the Participant therein.

             1.2     This Insurance also indemnifies the Assured for proven additional costs or charges reasonably
                     and necessarily paid by the Assured to avoid or diminish a loss payable hereunder, provided
                     such additional costs or charges do not exceed the amount of loss thereby avoided or
                     diminished.

             1.3     The Underwriters' maximum liability shall not exceed the Limit of Indemnity stated in the
                     Schedule for the relevant Insured Event(s) nor the Aggregate Limit of Indemnity stated in the
                     Schedule.

2. DEDUCTIBLE

             2.1     This Insurance is subject to the deductible(s) stated in the Schedule which
                     shall be retained by the Assured at their own risk and uninsured.


3. DEFINITIONS

             3.1     Ascertained Net Loss means such amount in excess of any deductible stated
                     in the Schedule as represents:

                     (3.1.1) Expenses which have been irrevocably expended in connection with the Insured
                             Event(s) which has been necessarily Cancelled, Abandoned, Postponed, Interrupted,
                             Curtailed or Relocated, less such part of the Gross Revenue retained less any savings
                             the Assured is able to effect to mitigate such loss;

                             and

                     (3.1.2) the reduction in Net Profit (when Net Profit is insured and stated in the Schedule) which
                             the Assured can demonstrate to the Underwriters would have been earned had the
                             Insured Event(s) taken place.

             3.2     Gross Revenue means all monies which would have been paid or payable to
                     the Assured from every source arising out of the Insured Event(s) had a loss
                     not occurred.

             3.3     Expenses means the total of all costs and charges which would have been
                     incurred by the Assured in organising, running and providing services for the
                     Insured Event(s) had a loss not occurred.

             3.4     Net Profit (when insured and stated in the Schedule) means the amount by which Gross
                     Revenue exceeds Expenses.

             3.5     Insured Event(s) means the event(s) stated in the Schedule.

                                                                                                 ExhibitPage
                                                                                                         A - 5023
                                                                                                               of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 25 of 78 Page ID #:31


 B1161S21W4252                                                                            Howden UK Group Limited
                                                                                           Lloyd’s Broker HSG 1161


           3.6      Cancellation or Cancelled means the inability to proceed with the Insured Event(s) prior to
                    commencement.

           3.7      Abandonment or Abandoned means the inability to complete the Insured Event(s) once
                    commenced.

            3.8     Postponement or Postponed means the unavoidable rescheduling of the Insured Event(s) to
                    another time.

           3.9      Interruption or Interrupted means the inability of the Assured to keep open the Insured Event(s)
                    after opening, followed by the reopening thereof.

           3.10     Curtailment or Curtailed means the unavoidable partial closure of the Insured Event(s).

           3.11     Relocation or Relocated means the unavoidable removal of the Insured
                    Event(s) to another location.

           3.12     Participant means any party who is contracted by the Assured to perform a function critical to
                    the successful fulfilment of the Insured Event(s).

           3.13     Venue means the place(s) stated in the Schedule where the Insured Event(s)
                    is to be held.

                    3.14     Terrorism means an unlawful act, including but not limited to the use of force or
                             violence, of any person or group(s) of persons, whether acting alone or on behalf of or
                             in connection with any organisation(s) or government(s), committed for political,
                             religious, ideological or similar purposes including the intention to influence any
                             government and/or to put the public, or any section of the public, in fear.



4. CONDITIONS PRECEDENT

           The Underwriters shall not be liable to pay any claim hereunder unless the Assured complies with the
           following Conditions Precedent:

           The Assured has:

           4.1      truthfully declared all material facts likely to influence a reasonable
                    Underwriter in determining:

                    (4.1.1) whether or not to accept the risk or any subsequent amendment;

                    (4.1.2) the premium;

                    (4.1.3) the terms, conditions, exclusions and limitations;

                    having diligently made all necessary inquiries to establish those facts.

           4.2      no knowledge at the inception, of any undisclosed matter,
                  fact or circumstance, actual or threatened, that increases or could increase
                    the possibility of a loss under this Insurance.

           4.3      paid the premium due in accordance with terms set out in the Schedule.

           4.4      declared that all information contained in the completed proposal form and/or supplied to
                    support such proposal or other application for this Insurance is in all respects true and complete


                                                                                                 ExhibitPage
                                                                                                         A - 6024
                                                                                                               of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 26 of 78 Page ID #:32


 B1161S21W4252                                                                          Howden UK Group Limited
                                                                                         Lloyd’s Broker HSG 1161

                   and unchanged at the inception of this Insurance. Further the Assured agrees that such
                   information is material, and forms the basis of this Insurance and is incorporated herein.

5. WARRANTIES

           It is warranted that the Assured shall:

           5.1     observe and comply with the requirements of any law, ordinance, court or
                   regulatory body of whatever jurisdiction.

           5.2     make all necessary arrangements for the successful fulfilment of the Insured
                   Event(s) (which for the avoidance of doubt shall include, but not be limited to, the provision of
                   sufficient allowances for travel time, set up and or rehearsal time) in a prudent and timely
                   manner.

           5.3     ensure that all necessary contractual arrangements have been made and
                   confirmed in writing with the Assured and that all necessary authorisations
                   (which for the avoidance of doubt shall include, but not be limited to, the
                   obtaining of licences, permits, visas, copyright and patents) are obtained in
                   a timely manner and valid for the period of the Insured Event(s).

            Failure to comply with any of the above warranties shall automatically entitle the Underwriters to refuse
            payment of a claim or treat this Insurance as though it never existed.


6. GENERAL CONDITIONS


            6.1    Any fraud, concealment, or intentional mis-statement or negligent statement of the information
                   provided or in the making of a claim, shall entitle the Underwriters to refuse payment of a claim
                   or treat this Insurance as though it had never existed.

           6.2     The Assured shall at all times do and concur in doing all things necessary to
                   avoid or diminish a loss under this Insurance, including where possible
                   Postponement or Relocation of the Insured Event.

           6.3     The Assured shall observe and fulfil the terms and conditions contained
                   herein or endorsed hereon.

           6.4     No other insurance shall be effected by the Assured to protect the interest insured hereunder
                   without the prior written approval of the Underwriters. In the event that such other insurance is
                   effected, the Underwriters reserve the right to amend the terms and conditions of this Insurance.

           6.5     The Assured shall maintain insurance adequate to cover the full value of a total loss of Expenses
                   (and Net Profit if insured) for each Insured Event, without any allowance for recoveries, savings
                   or waivers. Should the Assured fail to do so then the Underwriters will not be liable for a greater
                   proportion of any loss covered hereunder than the Limit of Indemnity bears to the full value of a
                   total loss of Expenses (and Net Profit if insured) for the relevant Insured Event(s).

           6.6     The premium and any expense incurred in the formulation of a claim shall not be recoverable
                   items.

           6.7     This Insurance is non-cancellable by either party, other than by Underwriters in the event of non
                   payment of premium, and there can be no return of premium unless otherwise stated in the
                   Schedule.


           6.8     The Assured shall maintain adequate records in connection with the subject
                   matter insured hereunder.

                                                                                                ExhibitPage
                                                                                                        A - 7025
                                                                                                              of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 27 of 78 Page ID #:33


 B1161S21W4252                                                                          Howden UK Group Limited
                                                                                         Lloyd’s Broker HSG 1161


           6.9     All salvage, recoveries and payments due to the Assured will be applied as if
                   recovered or received prior to settlement of the loss and all necessary
                   adjustments will be made by the parties involved.

            6.10   The Underwriters reserve the right to pursue an action for recovery from any
                   party, whether before or after payment of a loss, at their sole discretion and in the name of the
                   Assured or otherwise. In the event of any payment under this Insurance, the Underwriters
                   shall be subrogated to the extent of such payment to all the Assured’s rights of recovery and
                   the Assured shall execute all papers required and shall do everything that may be necessary
                   to secure such rights.

           6.11    No suit shall be brought upon this Insurance unless the Assured has complied with all the
                   provisions of this Insurance and has commenced suit within twelve months after the loss
                   occurs.

           6.12    This Insurance may not be assigned in whole or in part without the prior written consent of the
                   Underwriters.

           6.13    If the Loss Payee is other than the Assured, all claim payments due under the terms and
                   conditions of this Insurance shall be made payable to the party(s) stated in the Schedule as
                   Loss Payee(s). Payment of such losses by the Underwriters to the Loss Payee(s) shall be a
                   sufficient and complete discharge of all of the Underwriters' obligations to the Assured and Loss
                   Payee(s) in connection with said loss(es).

           6.14     This Insurance shall be subject to the applicable state law to be determined by the court of
                   competent jurisdiction as determined by the provisions of clause 6.15 below and as stated in
                   the wording or schedule attached.

            6.15   It is agreed that in the event of the failure of the Underwriters hereon to pay any amount claimed
                   to be due hereunder, the Underwriters hereon, at the request of the Assured, will submit to the
                   jurisdiction of a Court of competent jurisdiction within the United States.

                   Nothing in this clause constitutes or should be understood to constitute a waiver of the
                   Underwriters' rights to commence an action in any Court of competent jurisdiction in the United
                   States, to remove an action to United States District Court, or to seek a transfer of a case to
                   another Court as permitted by the laws of the United States or any State in the United States.

                   It is further agreed that service of process in such suit may be made upon the person or firm
                   named in the Schedule and that in any suit instituted against any one of them upon this
                   Insurance, the Underwriters will abide by the final decision of such Court or of any Appellate
                   Court in the event of an appeal.

                   The said person or firm is authorized and directed to accept service on behalf of the
                   Underwriters in any such suit and/or upon the request of the Assured to give a written
                   undertaking to the Assured that he will enter a general appearance upon the Underwriters'
                   behalf in the event such a suit shall be instituted. Further, pursuant to any statute of any state,
                   territory or district of the United States which makes provision therefor, the Underwriters hereby
                   designate the Superintendent, Commissioner or Director of Insurance or other officer specified
                   for that purpose in the statute, or his successor or successors in office, as their true and lawful
                   attorney upon whom may be served any lawful process in any action, suit or proceeding
                   instituted by or on behalf of the Assured or any beneficiary hereunder arising out of this
                   Insurance, and hereby designate the person or firm named in the Schedule as the person to
                   whom the said officer is authorized to mail such process or a true copy thereof.




                                                                                                ExhibitPage
                                                                                                        A - 8026
                                                                                                              of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 28 of 78 Page ID #:34


 B1161S21W4252                                                                              Howden UK Group Limited
                                                                                             Lloyd’s Broker HSG 1161

7. EXCLUSIONS
            This Insurance does not cover any loss directly or indirectly arising out of, contributed to by, or resulting
            from:

            7.1     non-appearance of any person or group(s) of persons.

            7.2     the Assured’s lack of care, diligence or prudent behaviour, the result of which would increase
                    the risk, and/or likelihood of a loss, hereunder.

            7.3     any contractual dispute or breach by the Assured or any Participant.

            7.4     alterations or variance of Insured Event(s) without the prior written
                    approval of the Underwriters.

            7.5     adverse weather in respect of any Insured Event(s) in the open or under canvas or in temporary
                    structures unless agreed by the Underwriters in writing and stated in the Schedule.

            7.6     any Insured Event(s) in the open or under canvas or in a temporary structure unless agreed by
                    the Underwriters in writing and stated in the Schedule.

            7.7     any work being carried out which renders the Venue or its facilities unusable in whole or in part,
                    unless such work is unknown to the Assured at the inception of this Insurance or at the time of
                    making the booking whichever is the later.

            7.8     Expenses and Gross Revenue which have not been declared to and agreed by
                    the Underwriters.

            7.9     any reduction in attendance that is not specifically attributable to the
                    necessary Cancellation, Abandonment, Postponement, Interruption,
                    Curtailment or Relocation of the Insured Event(s).

            7.10    the Assured failing to:

                    (7.10.1)observe and comply with the requirements of any law, ordinance,
                            court or regulatory body of whatever jurisdiction;

                    (7.10.2)make all necessary arrangements for the successful fulfilment of the Insured Event(s)
                            (which for the avoidance of doubt shall include, but not be limited to, the provision of
                            sufficient allowances for travel time, set up and/or rehearsal time) in a prudent and
                            timely manner;

                    (7.10.3)ensure that all necessary contractual arrangements with the Assured are made and
                            confirmed in writing with the Assured and that all necessary authorisations, (which for
                            the avoidance of doubt shall include, but not limited to, the obtaining of licences,
                            permits, visas, copyright and patents) are obtained in a timely manner and valid for the
                            period of the Insured Event(s).

            7.11    any fraud, misrepresentation or concealment by the Assured.

            7.12    war, invasion, act of foreign enemies, hostilities (whether war be declared
                    or not), civil war, rebellion, revolution, insurrection, military or usurped power.




                                                                                                   ExhibitPage
                                                                                                           A - 9027
                                                                                                                 of 20
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 29 of 78 Page ID #:35


 B1161S21W4252                                                                             Howden UK Group Limited
                                                                                            Lloyd’s Broker HSG 1161

           7.13    civil commotion assuming the proportions of or amounting to a popular
                   uprising, riot, martial law or the act of any lawfully constituted authority in
                   the furtherance of maintaining public order.

           7.14    seizure or destruction under quarantine or customs regulations,
                   confiscation, nationalisation or requisition or destruction of or damage to
                   property, by or under the order of any government or public or local
                   authority, or the handling of contraband or the engaging in illicit trade or
                   transportation.

           7.15    any order for repatriation, internment, imprisonment, deportation or the
                   refusal of permit to enter any country where the Insured Event(s) is to be
                   held.

           7.16    nuclear reaction, nuclear radiation or radioactive contamination, however
                   such nuclear reaction, nuclear radiation or radioactive contamination may have been caused.

           7.17    seepage and/or pollution and/or contamination unless it is discovered
                   during the period of this Insurance and is a direct cause of a loss covered
                   hereunder.

           7.18    (7.18.1)withdrawal, insufficiency or lack of finance howsoever caused,

                   (7.18.2)the financial failure of any venture,

                   (7.18.3)lack of or inadequate receipts, sales or profits of any venture,

                   (7.18.4)variations in the rate of exchange, rate of interest or stability of
                           any currency,

                   (7.18.5)financial default, insolvency, or failure to pay of any person,
                            corporation or entity,

                   all (7.18.1) to (7.18.5) whether a party to this Insurance or otherwise.

           7.19    (7.19.1)lack of or inadequate response or inadequate financial or other
                            support or withdrawal of such support by any party,

                   (7.19.2)lack of or inadequate attendance or insufficient interest prior to
                           the date and time scheduled for any Insured Event.

            7.20   The actual or threatened malicious use of pathogenic or poisonous biological or chemical
                   materials (whether actual or perceived) regardless of any other cause or event contributing,
                   concurrently or in any other sequence, thereto.

            7.21   any communicable disease or threat or fear of communicable disease (whether actual or
                   perceived) which leads to:

                   (7.21.1) the imposition of quarantine or restriction in movement of people or animals by any
                            national or international body or agency;

                   (7.21.2) any travel advisory or warning being issued by a national or international body or
                            agency.

           7.22    national, court or religious mourning whether declared or not.

           7.23    (7.23.1)any act of Terrorism and/or the threat thereof (whether actual or perceived) regardless
                           of any other cause or event contributing concurrently or in any other sequence to the
                           loss.

                                                                                                          Page 10 of 20
                                                                                                     Exhibit A - 028
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 30 of 78 Page ID #:36


 B1161S21W4252                                                                           Howden UK Group Limited
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                    (7.23.2)any loss resulting from or in connection with any action taken in controlling,
                            preventing, suppressing or in any way relating to any act of Terrorism or fear thereof.

           7.24     any happening which is insured by or would, but for the existence of this
                    Insurance, be insured by any other insurance(s) except for any excess
                    beyond the amount which would have been payable under such other
                    insurance(s) had this Insurance not been effected.


8. CLAIMS PROCEDURE

           The Underwriters shall not be liable to pay any claim hereunder unless the Assured complies with the
           following conditions:

           In the event of any happening or circumstance which could give rise to a claim under this Insurance,
           the Assured shall:

           8.1      (8.1.1) as a matter of urgency give notice to the person(s) designated in the
                            attached Schedule,
                    (8.1.2) confirm the facts in writing as soon as possible, with all
                            information that is available,
                    (8.1.3) make no admission of liability without the prior written
                            consent of the Underwriters,
                    (8.1.4) take all steps to minimise or avoid any loss hereunder,
                    (8.1.5) provide the Underwriters or their appointed representatives
                            with:
                            i) all necessary assistance in a timely manner,
                            ii) all information required,
                           iii) all documentation and records necessary to establish
                    and assess indemnity hereunder and copies or extracts
                    as may be required;
                    (8.1.6) prove the loss to the satisfaction of the Underwriters,

                    (8.1.7) forward immediately to the Underwriters or their
                    representatives any letter, writ or other document received
                    in connection with any claim made under this Insurance.

           8.2      as often as may be reasonably required submit to examination under oath on all
                  matters connected with a claim, by any person named by the Underwriters at
                  such reasonable time and place as may be designated by the Underwriters or
                  their representatives.

                    So far as is in their power the Assured shall cause their employees and all other persons
                    interested in the Insured Event(s) to comply with the foregoing.

                    No such examination under oath or examination of books or documents, nor any other act of
                    the Underwriters or their representatives in connection with any investigation hereunder, shall
                    be deemed a waiver of any defence which the Underwriters might otherwise have. All such
                    examinations and acts shall be deemed to have been made or done without prejudice to the
                    Underwriters' liability.

           8.3     as soon as is practicable render a signed and sworn proof of loss to the Underwriters or their
                   representative to substantiate the occurrence, nature, cause and amount of loss claimed
                   under this Insurance.

                                                                                                     Page 11 of 20
                                                                                                Exhibit A - 029
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 31 of 78 Page ID #:37


 B1161S21W4252                                                                     Howden UK Group Limited
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           8.4   allow the Underwriters the right, if they so wish, to:

                 (8.4.1) take such steps as they deem necessary to prevent, mitigate or
                         minimise a loss,
                 (8.4.2) take over and conduct the defence or settlement of claims made
                 against the Assured that are covered by this Insurance,
                 (8.4.3) pursue all rights or remedies available to the Assured whether or not
                         payment has been made hereunder.




                                                                                                Page 12 of 20
                                                                                           Exhibit A - 030
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 32 of 78 Page ID #:38


 B1161S21W4252                                                                              Howden UK Group Limited
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                                            SUPPLEMENTAL CLAUSES



SUPPLEMENTAL CLAUSES
The following clauses attach to and form part of the Insurance contract (in respect of the LMA 3089 wording,
above, only)


Adverse Weather Extension Outdoor Events
1.   Subject to the terms and conditions set out below, this Contract of Insurance is extended, for the Period of
     Insurance specified in the Schedule, to cover the peril of Adverse Weather.

2.   Adverse Weather is defined as weather conditions which:

     2.1.   occur on the day(s) of the Insured Event and which are deemed by the organiser of the Insured Event
            reasonably to pose a serious threat to the safety of any Participant or those attending the Insured Event,
            and/or

     2.2.   occur during the Period of Insurance and which result in conditions which the relevant local authority or
            government agency consider to pose a serious threat to the safety of any Participant or those attending
            the Insured Event, and/or

     2.3.   occur during the Period of Insurance and which, despite using their best endeavours and taking all
            reasonable and necessary steps, prevent the Insured or the organiser of the Insured Event from
            undertaking the necessary set up to enable the Insured Event to proceed due to:

            2.3.1.   concern for the safety of those responsible for the necessary set up, and/or
            2.3.2.   reason of physical impossibility, and/or

     2.4.   occur on the day(s) of the Insured Event and where the Insured Event is conducted under defined
            sporting rules or laws and in the opinion of the umpire/referee or the match official(s) the Insured Event
            cannot proceed as required under the defined sporting rules or laws.

3.   In any claim and/or action, suit or proceeding to enforce a claim for a loss insured under this extension, the
     burden of proving that the loss results from Adverse Weather shall fall upon the Insured.

4.   It is warranted that electrical equipment and wiring meet and are fully compliant with both minimum recognised
     industry standards and any governmental codes applicable to the Venue(s). If this warranty is breached, the
     Underwriters’ liability under this extension shall be suspended from the time of the breach until the time when
     the breach is remedied (if it is capable of being remedied). The Underwriters will have no liability to the Insured
     for any loss which occurs, or which is attributable to something happening, during the period when the
     Underwriters’ liability is suspended.

5.   All other terms and conditions in the Contract of Insurance to which this extension is attached remain
     unchanged and shall apply to this extension. To the extent that any provisions in this extension conflict with the
     Contract of Insurance, the terms of this extension shall prevail.

LMA5290
13 September 2017




                                                                                                         Page 13 of 20
                                                                                                    Exhibit A - 031
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 33 of 78 Page ID #:39


 B1161S21W4252                                                                                   Howden UK Group Limited
                                                                                                  Lloyd’s Broker HSG 1161

Communicable Disease Exclusion
      (For use on Contingency Cancellation & Abandonment risks)
1.    Notwithstanding any provision to the contrary, this Contract of Insurance does not cover:
      1.1.   any loss directly or indirectly arising out of, contributed to by, or resulting from any Communicable
             Disease or the fear or threat (whether actual or perceived) of a Communicable Disease;
      1.2.   any loss resulting from or in connection with any action taken in controlling, preventing, suppressing or in
             any way relating to any Communicable Disease or fear or threat (whether actual or perceived) thereof.
2.    For the purposes of this exclusion, Communicable Disease means any disease capable of being transmitted
      from any organism to another organism by means of any substance or agent.


      All other terms and conditions remain unchanged



Contingency Coronavirus Exclusion
1.    Notwithstanding any provision to the contrary, this policy does not cover:
      1.1.    any loss directly or indirectly arising out of, contributed to by, or resulting from:
             1.1.1.    Coronavirus disease (COVID-19);
             1.1.2.    Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2); or
             1.1.3.    any mutation or variation of SARS-CoV-2;
             or from any fear or threat of 1.1.1, 1.1.2 or 1.1.3 above;
      1.2    any loss resulting from or in connection with any action taken in controlling, preventing, suppressing or in
             any way relating to 1.1.1, 1.1.2 or 1.1.3 or fear or threat thereof.



                                     All other terms and conditions remain unchanged.

      LMA5507A
      07 April 2021


Terrorism extension (including threat)
Despite the operation of Exclusion 7.23, this Contract of Insurance shall extend to include the Insured’s Ascertained
Net Loss resulting from the necessary Cancellation, Abandonment, Postponement, Interruption, Curtailment or
Relocation of the Insured Event due to Terrorism which occurs:

a)    at the Venue(s), or

b)    within a 100 miles radius of where the Venue is located, and

c)    within 50 days of the proposed start date of the Insured Event.


Definitions specific to this extension
Terrorism means an unlawful act, including but not limited to the use of force or violence, of any person or group(s) of
persons, whether acting alone or on behalf of or in connection with any organisation(s) or government(s), committed
for political, religious, ideological or similar purposes including the intention to influence any government and/or to put
the public, or any section of the public, in fear.


                                                                                                            Page 14 of 20
                                                                                                       Exhibit A - 032
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 34 of 78 Page ID #:40


 B1161S21W4252                                                                                Howden UK Group Limited
                                                                                               Lloyd’s Broker HSG 1161

What is not covered by this extension
This Contract of Insurance shall not cover any loss directly or indirectly arising out of, contributed to or caused by, or
resulting from:

any fear of a potential act of Terrorism;
any threat of Terrorism unless such threat is confirmed in writing by local or national governmental authorities as
having posed or appeared to pose real risk of physical loss or damage or actual bodily injury or death if the event had
proceeded, whether or not such risk subsequently proves to have been real or hoax;
any Terrorism involving a nuclear weapon or device or the emission, discharge, dispersal, release or escape of any
chemical or biological agent.

Civil Commotion Extension Endorsement
Notwithstanding civil commotion exclusion, this policy is extended to cover Civil Commotion which first occurs
within 7 days immediately prior to the Insured Event and at the Venue(s) and directly leads to:
1.Denial of access to the Venue, or the Venue being closed by order of a Government or public authority or local
authority;
2.A government imposing a ban on public meetings or events excluding communicable diseases; or
3.Damage to or destruction of the Venue.

However, under no circumstances shall this Civil Commotion Limited Extension Endorsement cover any loss arising
directly or indirectly out of, contributed by, or resulting from:

    1. fear or threat of (whether actual or perceived) of any Civil Commotion;
    2. the non-appearance of any person or group(s) of persons or any reduction in attendance that is attributable to
       Civil Commotion;
    3. any ongoing incidents of Civil Commotion;
    4. any action taken in controlling, preventing or suppressing any actual or threatened Civil Commotion, other
       than where;
       a: such action results solely and directly from the direction of a Government or public authority or local
       authority and
       b. such action was not required by any Government or public authority or local authority before the effective
       date of this policy.
    5. any act or threat of Civil Commotion which, directly or indirectly, relates to or arises from Terrorism or threat
       of Terrorism;
    6. any act or threat of Civil Commotion which, directly or indirectly, relates to or arises from the use of any
       nuclear weapon or device or the emission, discharge, dispersal, release or escape of any chemical or
       biological agent;
    7. any civil commotion which does not meet the specifications of Civil Commotion as covered by this
       Endorsement.

All other Terms and Conditions as per the policy




                                                                                                           Page 15 of 20
                                                                                                      Exhibit A - 033
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 35 of 78 Page ID #:41


 B1161S21W4252                                                                                       Howden UK Group Limited
                                                                                                      Lloyd’s Broker HSG 1161



Cyber Exclusion
(For use in conjunction with Contingency Risks)

This Contract of Insurance does not cover any loss directly or indirectly arising out of, contributed to by, or resulting
from any:

1.1.   Cyber Act or Cyber Incident or the fear or threat (whether actual or perceived) of any Cyber Act or Cyber
       Incident; or

1.2.   action taken in controlling, preventing, suppressing, or remediating any Cyber Act or Cyber Incident or the fear
       or threat (whether actual or perceived) of any Cyber Act or Cyber Incident.

Definitions
1.     Computer System means any computer, hardware, software, communications system, electronic device
       (including, but not limited to, smart phone, laptop, tablet, wearable device), server, cloud or microcontroller
       including any similar system or any configuration of the aforementioned and including any associated input,
       output, data storage device, networking equipment or back up facility.

2.     Cyber Act means an unauthorised, malicious or criminal act or series of related unauthorised, malicious or
       criminal acts, regardless of time and place, involving access to, processing of, use of or operation of any
       Computer System.

3.     Cyber Incident means:

       3.1.   any error or omission or series of related errors or omissions involving access to, processing of, use of or
              operation of any Computer System; or

       3.2.   any partial or total unavailability or failure or series of related partial or total unavailability or failures to
              access, process, use or operate any Computer System.

ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED

LMA5460
14 October 2020


Sanction Limitation and Exclusion Clause
No Insurer shall be deemed to provide cover and no Insurer shall be liable to pay any claim or provide any benefit
hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would
expose that Insurer to any sanction, prohibition or restriction under United Nations resolutions or the trade or
economic sanctions, laws or regulations of the European Union, United Kingdom or United States of America.

LMA3100
15 September 2010


Institute Service of Suit Clause (U.S.A)
It is agreed that in the event of the failure of the Underwriters severally subscribing this insurance (the Underwriters) to
pay any amount claimed to be due hereunder, the Underwriters, at the request of the Assured, will submit to the
jurisdiction of a court of competent jurisdiction within the United States of America.

Notwithstanding any provision elsewhere in this insurance relating to jurisdiction, it is agreed that the Underwriters
have the right to commence an action in any court of competent jurisdiction in the United States of America, and
nothing in this clause constitutes or should be understood to constitute a waiver of the Underwriters' rights to remove
an action to a United States Federal District Court or to seek remand therefrom or to seek a transfer of any suit to any
other court of competent jurisdiction as permitted by the laws of the United States of America or any state therein.


                                                                                                                  Page 16 of 20
                                                                                                             Exhibit A - 034
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 36 of 78 Page ID #:42


 B1161S21W4252                                                                               Howden UK Group Limited
                                                                                              Lloyd’s Broker HSG 1161

Subject to the Underwriters' rights set forth above:

(a)     It is further agreed that the Assured may serve process upon:

                                                     Lloyd’s America, Inc
                                                 Attention: Legal Department
                                            280 Park Avenue, East Tower, 25th Floor
                                                     New York, NY 10017

and that in any suit instituted against any one of them upon this contract the Underwriters will abide by the final
decision of the Court or of any Appellate Court in the event of an appeal.

(b)     The above-named are authorized and directed to accept service of process on behalf of Underwriters in any
        such suit and/or upon the request of the Assured to give a written undertaking to the Assured that they will
        enter a general appearance upon the Underwriters' behalf in the event such a suit shall be instituted.

(c)     The right of the Assured to bring suit as provided herein shall be limited to a suit brought in its own name and
        for its own account. For the purpose of suit as herein provided the word Assured includes any mortgagee
        under a ship mortgage which is specifically named as a loss payee in this insurance and any person
        succeeding to the rights of any such mortgagee.

(d)     Further, pursuant to any statute of any state, territory or district of the United States of America which makes
        provision therefor, Underwriters hereby designate the Superintendent, Commissioner or Director of Insurance
        or other officer specified for that purpose in the statute, or his successor or successors in office (the Officer),
        as their true and lawful attorney upon whom may be served any lawful process in any action, suit or
        proceeding instituted by or on behalf of the Assured or any beneficiary hereunder arising out of this contract of
        insurance, and hereby designate the above-named as the person to whom the Officer is authorized to mail
        such process or a true copy thereof.

CL355A
12 November 2019


Stage Warranty
It would be warranted that all stages are protected from weather on three sides and above and that all electrics are
protected from weather to the required industry standard.




                                                                                                          Page 17 of 20
                                                                                                     Exhibit A - 035
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 37 of 78 Page ID #:43


 B1161S21W4252                                                                             Howden UK Group Limited
                                                                                            Lloyd’s Broker HSG 1161

                                            SECURITY DETAILS

 Insurers Liability:   LMA3333

                       (Re)insurer’s liability several not joint
                       The liability of a (re)insurer under this contract is several and not joint with other
                       (re)insurers party to this contract. A (re)insurer is liable only for the proportion of liability
                       it has underwritten. A (re)insurer is not jointly liable for the proportion of liability
                       underwritten by any other (re)insurer. Nor is a (re)insurer otherwise responsible for any
                       liability of any other (re)insurer that may underwrite this contract.

                       The proportion of liability under this contract underwritten by a (re)insurer (or, in the
                       case of a Lloyd’s syndicate, the total of the proportions underwritten by all the members
                       of the syndicate taken together) is shown next to its stamp. This is subject always to the
                       provision concerning “signing” below.

                       In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the
                       syndicate itself) is a (re)insurer. Each member has underwritten a proportion of the total
                       shown for the syndicate (that total itself being the total of the proportions underwritten
                       by all the members of the syndicate taken together). The liability of each member of the
                       syndicate is several and not joint with other members. A member is liable only for that
                       member’s proportion. A member is not jointly liable for any other member’s proportion.
                       Nor is any member otherwise responsible for any liability of any other (re)insurer that
                       may underwrite this contract. The business address of each member is Lloyd’s, One
                       Lime Street, London EC3M 7HA. The identity of each member of a Lloyd’s syndicate
                       and their respective proportion may be obtained by writing to Market Services, Lloyd’s,
                       at the above address.

                       Proportion of liability
                       Unless there is “signing” (see below), the proportion of liability under this contract
                       underwritten by each (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the
                       proportions underwritten by all the members of the syndicate taken together) is shown
                       next to its stamp and is referred to as its “written line”.

                       Where this contract permits, written lines, or certain written lines, may be adjusted
                       (“signed”). In that case a schedule is to be appended to this contract to show the
                       definitive proportion of liability under this contract underwritten by each (re)insurer (or, in
                       the case of a Lloyd’s syndicate, the total of the proportions underwritten by all the
                       members of the syndicate taken together). A definitive proportion (or, in the case of a
                       Lloyd’s syndicate, the total of the proportions underwritten by all the members of a
                       Lloyd’s syndicate taken together) is referred to as a “signed line”. The signed lines
                       shown in the schedule will prevail over the written lines unless a proven error in
                       calculation has occurred.

                       Although reference is made at various points in this clause to “this contract” in the
                       singular, where the circumstances so require this should be read as a reference to
                       contracts in the plural.


 Order Hereon:         100% of 100%




                                                                                                        Page 18 of 20
                                                                                                   Exhibit A - 036
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 38 of 78 Page ID #:44


 B1161S21W4252                                                                             Howden UK Group Limited
                                                                                            Lloyd’s Broker HSG 1161

 Basis Of Written Lines:   Percentage of Whole

 Signing Provisions:       In the event that the written lines hereon exceed 100% of the order, any lines written “to
                           stand” will be allocated in full and all other lines will be signed down in equal proportions
                           so that the aggregate signed lines are equal to 100% of the order without further
                           agreement of any of the (re)insurers.

                           However:

                           a)    in the event that the placement of the order is not completed by the
                                 commencement date of the period of insurance then all lines written by that date
                                 will be signed in full;

                           b)    the Insured may elect for the disproportionate signing of (re)insurers lines,
                                 without further specific agreement of (re)insurers, providing that any such
                                 variation is made prior to the commencement date of the period of insurance, and
                                 that lines written “to stand” may not be varied without the documented agreement
                                 of those (re)insurers.

                           c)    the signed lines resulting from the application of the above provisions can be
                                 varied, before or after the commencement date of the period of insurance, by the
                                 documented agreement of the insured and all (re)insurers whose lines are to be
                                 varied. The variation to the contracts will take effect only when all such
                                 (re)insurers have agreed, with the resulting variation in signed lines commencing
                                 from the date set out in that agreement.




                                                                                                        Page 19 of 20
                                                                                                   Exhibit A - 037
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 39 of 78 Page ID #:45


 B1161S21W4252                                                                      Howden UK Group Limited
                                                                                     Lloyd’s Broker HSG 1161

                                      INSURER SIGNING PAGE

 Written Lines:         In a co-insurance placement, following (re)insurers may, but are not obliged to, follow
                        the premium charged by the lead (re)insurer.

                        (Re)insurers may not seek to guarantee for themselves terms as favourable as those
                        which others subsequently achieve during the placement.

 Signed Lines:    Written Lines:




                                                                                                 Page 20 of 20
                                                                                            Exhibit A - 038
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 40 of 78 Page ID #:46


    Policy Number: (UMR) B1161S21W4252


    SECURITY DETAILS

      REFERENCES
        UMR (Unique Market Reference): B1161S21W4252
        Date contract printed to PDF: 16:57 27 September 2021


    SIGNED UNDERWRITERS


       Liberty Specialty Markets




                                                                     LIB
                                                                    4472
       100.000000%    1 5 3 0 9 1 0 1 2 1 C 2
       Written
                   16:51 27 September 2021
       100.000000%
       Signed      Lloyd's Underwriter Syndicate No. 4472 LIB, London, England
                   Donny Yu
                   Bound as Slip Leader, Lloyd’s Leader




    Market Submission - Security Details                        Page 1 of 2       27/09/2021 1

                                                                                 Exhibit A - 039
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 41 of 78 Page ID #:47


    Policy Number: (UMR) B1161S21W4252


    SETTLEMENT INFORMATION

       Allocation of Premium to Coding

       PC at 100.000000%


       Allocation of Premium to Year of Account

       2021

       Terms of Settlement
       Settlement Due Date:                        20 November 2021

       Instalment Premium Period of Credit:        0 day(s)

       Adjustment Premium Period of Credit:        0 day(s)


    Lloyd's Underwriter Syndicate No. 4472 LIB, London, England
    Bureau Leader and Lloyd’s Leader
    Donny Yu




    Market Submission - Security Details                      Page 2 of 2    27/09/2021 1

                                                                            Exhibit A - 040
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 42 of 78 Page ID #:48




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 Registered Office: One Creechurch Place, London, EC3A 5AF. Calls may be monitored and recorded for quality assurance purposes. [00/00] Ref: [   ]
                                                                                                                                       Exhibit A - 041
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 43 of 78 Page ID #:49



                   Superior Court of California, County of Los Angeles


                         ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
       Saves Time: ADR is faster than going to trial.
       Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
       Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
       Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
       Costs: If the parties do not resolve their dispute, they may have to pay for ADR litigation and trial.
       No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                       want to work out a solution but need help from a neutral person.
                       have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                       want a public trial and want a judge or jury to decide the outcome.
                       lack equal bargaining power or have a history of physical/emotional abuse.



                                                                                                                 1




                                                                                                    Exhibit A - 042
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 44 of 78 Page ID #:50




                                 How to rrange          ediation in Los Angeles County

     Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

             The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
             cases).

                      ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                       949 863 9800
                      JAMS, Inc.
                      Mediation Center of Los Angeles Program Manager info@mediationLA.org
                       833 476 9145

     These organizations cannot accept every case and they may decline cases at their discretion. They may
     offer online mediation by vid conference for cases they accept. Before contacting these organizations,
     review important information and FAQs at www.lacourt.org/ADR.Res.List

     NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
     claims cases.




             Day of trial mediation programs have been paused until further notice.

             Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
             should carefully review the Notice and other information they may receive about (ODR)
             requirements for their case.

         c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

                     Arbitration is less formal than trial, but like trial, the parties present evidence and
     arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
     decision is final;
     trial after the arbitrator’s decision. For more information about arbitration, visit
     http://www.courts.ca.gov/programs-adr.htm

                                                       MSCs are ordered by the Court and are often held close
     to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
     officer who does not make a decision but who instead assists the parties in evaluating the strengths and
     weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
     programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

     Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
     For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




                                                                                                         Exhibit A - 043
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 45 of 78 Page ID #:51




                                                                 Exhibit A - 044
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 46 of 78 Page ID #:52




                                                                 Exhibit A - 045
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 47 of 78 Page ID #:53




                                                                 Exhibit A - 046
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 48 of 78 Page ID #:54




                                                                 Exhibit A - 047
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 49 of 78 Page ID #:55




                                                                 Exhibit A - 048
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 50 of 78 Page ID #:56




                                                                 Exhibit A - 049
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 51 of 78 Page ID #:57




                                                                 Exhibit A - 050
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 52 of 78 Page ID #:58




                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
  Superior Court of California
  County of Los Angeles
                                  voluntary stipulations entered into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;
                                  however, they may not alter the stipulations as written,
                                  because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association                 These stipulations are meant to encourage cooperation
  Litigation Section

  Los Angeles County
                                  between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employment Law Section          manner that promotes economic case resolution and judicial
                                  efficiency.

                                      The     following   organizations   endorse   the    goal   of
  Consumer Attorneys
  Association of Los Angeles      promoting efficiency in litigation and ask that counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                      Los Angeles County Bar Association Litigation Section
  Southern California
  Defense Counsel

                                                  Los Angeles County Bar Association
                                                Labor and Employment Law Section

  Association of
  Business Trial Lawyers                 Consumer Attorneys Association of Los Angeles


                                                Southern California Defense Counsel


                                                Association of Business Trial Lawyers

  California Employment
  Lawyers Association
                                            California Employment Lawyers Association


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     For Optional Use
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                                                                                          Exhibit A - 051
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 53 of 78 Page ID #:59




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Re er ed for Clerk File S amp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents a he core of he li iga ion. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                cond c in q e ion co ld be con idered core. In a per onal inj r ca e, an inciden or
                police report, medical records, and repair or maintenance records could be considered
                 core. );

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                     Page 1 of 2


                                                                                                          Exhibit A - 052
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 54 of 78 Page ID #:60


   SHORT TITLE:                                                                      CASE NUMBER:




                  di c   ed in he Al erna i e Di p e Re ol ion (ADR) Informa ion Package              er ed    i h he
                  complaint;

         h. Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;

         i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                  www.lacourt.org nder Civil and hen nder General Information ).

   2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                  to ____________________ for the complaint, and ______________________ for the cross-
                           (INSERT DATE)                                       (INSERT DATE)
                  complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                  and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                  been found by the Civil Supervising Judge due to the case management benefits provided by
                  this Stipulation. A copy of the General Order can be found at www.lacourt.org nder Civil ,
                  click on General Information , hen click on Voluntary Efficient Litigation Stipulations .

   3.             The parties will prepare a joint report titled Joint Status Report Pursuant to Initial Conference
                  and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                  results of their meet and confer and advising the Court of any way it may assist the par ie
                  efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                  the Case Management Conference statement, and file the documents when the CMC
                  statement is due.

   4.             Reference o da        mean calendar da , nle o her i e no ed. If he da e for performing
                  any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                  for performing that act shall be extended to the next Court day

   The following parties stipulate:
   Date:

                     (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
   Date:

                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                     (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)
   Date:

                     (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)
   Date:

                     (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)


   LACIV 229 (Rev 02/15)
   LASC Approved 04/11          STIPULATION – EARLY ORGANIZATIONAL MEETING                                    Page 2 of 2
         Print                    Save                                                                        Clear
                                                                                                    Exhibit A - 053
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 55 of 78 Page ID #:61



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3


                                                                                                          Exhibit A - 054
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 56 of 78 Page ID #:62


   SHORT TITLE:                                                                   CASE NUMBER:




                  iii.   Be filed within two (2) court days of receipt of the Request; and

                  iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                         method of service that ensures that the opposing party receives the Answer no
                         later than the next court day following the filing.

         c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal Discovery Conference
            within ten (10) days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
            Request for Informal Discovery Conference has been granted or denied and, if granted,
            the date and time of the Informal Discovery Conference, which must be within twenty (20)
            days of the filing of the Request for Informal Discovery Conference.

         e. If the conference is not held within twenty (20) days of the filing of the Request for
            Informal Discovery Conference, unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

   4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
      without the Court having acted or (c) the Informal Discovery Conference is concluded without
      resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
      discovery motion is tolled from the date of filing of the Request for Informal Discovery
      Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
      filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
      by Order of the Court.

         It is the understanding and intent of the parties that this stipulation shall, for each discovery
         dispute to which it applies, constitute a writing memorializing a “specific later date to which
         the propounding [or demanding or requesting] party and the responding party have agreed in
         writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
         2033.290(c).

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
      terminate the stipulation.

   8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
      any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
      for performing that act shall be extended to the next Court day.



   LACIV 036 (new)
   LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
   For Optional Use                                                                                     Page 2 of 3


                                                                                                 Exhibit A - 055
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 57 of 78 Page ID #:63


   SHORT TITLE:                                                       CASE NUMBER:




   The following parties stipulate:

   Date:

                   (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
   Date:

                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
   Date:

                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
   Date:

                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
   Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
   Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
   Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




           Print             Save                                                             Clear


   LACIV 036 (new)
   LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
   For Optional Use                                                                            Page 3 of 3


                                                                                     Exhibit A - 056
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 58 of 78 Page ID #:64




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
             Print                      Save                                                                                          Clear
                                                                                                                     Exhibit A - 057
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 59 of 78 Page ID #:65




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2


                                                                                                          Exhibit A - 058
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 60 of 78 Page ID #:66


   SHORT TITLE:                                                   CASE NUMBER:




   The following parties stipulate:

   Date:

                  (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
   Date:

                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
   Date:

                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
   Date:

                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
   Date:

                  (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
   Date:

                  (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
   Date:

                  (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



   THE COURT SO ORDERS.

     Date:
                                                                  JUDICIAL OFFICER




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   LACIV 075 (new)
   LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                   Page 2 of 2


                                                                                 Exhibit A - 059
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 61 of 78 Page ID #:67




                                                                 Exhibit A - 060
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 62 of 78 Page ID #:68




                                                                 Exhibit A - 061
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 63 of 78 Page ID #:69




                                                                 Exhibit A - 062
 Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 64 of 78 Page ID #:70


                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV08211

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Lia Martin                         16




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       03/08/2022
    on _____________________________                                        N. Miramontes
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                                                                 Exhibit A - 063
 Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 65 of 78 Page ID #:71


                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                                                                 Exhibit A - 064
        Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 66 of 78 Page ID #:72
                                                                                                                                                                         CM-010
Electronically FILED by Superior Court of California, County of Los Angeles on 03/07/2022 04:56 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy Clerk
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Na e, S a e Ba                       be , a d add e     ):22STCV08211
                                                                                                                                                                   FOR CO R            E ONL
        Sha A. Ka ikia SBN 285048; Tali ha S. Gal a , SBN 334289
        Kaba eck LLP, 633 We 5 h S ., S e 3200, L A gele , CA 90071

                    TELEPHONE NO.:    (213) 217-5000                             FAX NO. (O         a ):   (213) 217-5010
                   E-MAIL ADDRESS:
             ATTORNEY FOR (Na e):     Plai iff SPRING AWAKENING, LLC.
        SUPERIOR COURT OF CALIFORNIA, COUNT OF LOS ANGELES
         STREET ADDRESS:        111 N. Hill S ee
        MAILING ADDRESS:
        CITY AND ZIP CODE:      L A gele , CA 90012
              BRANCH NAME:      S a le M k
        CASE NAME:


                  CIVIL CASE COVER SHEET                                               C                    C        D                          CASE NUMBER:

                   U                                    L                    C     e            J i de
                   (Am                                  (Am
                                                                      Filed i h fi a ea a ce b defe da                                          JUDGE:
                   dema ded                             dema ded i
                                                                          (Cal. R le f C    , le 3.402)
                   e ceed $25,000)                      $25,000 le )                                                                            DEPT.:

                                                          Ie   1 6 be        be c    e ed ( ee     c                                            age 2).
        1. Check                b     bel        f      he ca e         e ha be         de c ibe             hi ca e:
              A      T                                                           C                                                          P                 C       C     L
                      A    (22)                                                            B each f c             ac / a a         (06)     (C . R            C     ,     3.400 3.403)
                      U i    ed m   i (46)                                                 R le 3.740 c llec i              (09)                  A i         /T ade eg la i (03)
              O       PI/PD/ D (P       I                     /P                           O he c llec i             (09)                          C          ci     defec (10)
              D         /         D   )T                                                                                                           Ma           (40)
                                                                                           I        a ce c      e age (18)
                      A be          (04)                                                   O he c            ac (37)                               Sec i ie li iga i            (28)
                      P d c liabili         (24)                                                                                                   E i me al/T ic       (30)
                                                                                 R      P
                      Medical mal ac ice (45)                                                                                                      I  a ce c e age claim a i i g f m he
                                                                                           Emi e d mai /I e e
                      O he PI/PD/WD (23)                                                                                                           ab e li ed   i i all c m le ca e
                                                                                           c dem a i (14)
                                                                                                                                                     e (41)
              N     -PI/PD/ D (O            )T                                             W gf l e ic i (33)                               E               J
                      B   i e          /    fai b       i e        ac ice (07)             O he eal              e       (26)                      E f ceme            f j dgme          (20)
                      Ci il igh      (08)                                        U            D
                                                                                                                                            M             C            C
                      Defama i        (13)                                                 C mme cial (31)
                                                                                                                                                   RICO (27)
                      F a d (16)                                                           Re ide ial (32)
                                                                                                                                                   O he c m lai            (           ec f ed ab   e) (42)
                      I ellec al e (19)                                                    D g (38)
                                                                                                                                            M                   C      P
                      P fe i al eglige ce (25)                                   J          R
                                                                                           A e f fei            e (05)                             Pa      e hi a d c              aeg          e a ce (21)
                      O he          -PI/PD/WD               (35)
              E                                                                            Pe i i          e: a bi a i      a a d (11)             O he      eii       (         ec f ed ab       e) (43)

                      W      gf l e mi a i           (36)                                  Wi       f ma da e (02)
                      O he em l        me        (15)                                      O he j dicial e ie (39)
        2.     Thi ca e               i         i         c m le                       de      le 3.400 f he Calif ia R le f C      . If he ca                                 e i c m le , ma k he
               fac    e         i i g e ce i al j dicial ma ageme                      :
              a.      La        ge mbe f e a a el e e e ed                                a ie       d.      La ge mbe f i e e
              b.      E         e i em i       ac ice ai i g diffic l                           el e.        C di a i     i h ela ed ac i                                  e di g i             e m e
                      i          e ha ill be ime-c        mi g     e                     l e                 c     i   he c     ie , a e ,                                 c     ie ,           i a fede al
              c.          S b a ial am                        f d c me a          e ide ce                   c
                                                                                                     f.      S b a ial      j dgme j dicial                                  e i i
       3. Remedie         gh (chec a ha a        ): a.                                m e a b.                m e a ; decla a          i j ci                              e elief c.                       ii e
       4. N mbe f ca e f ac i ( ec f ): 2
       5. Thi ca e          i          i         a cla ac i    i.
       6. If he e a e a k         ela ed ca e , file a d e e a   ice f ela ed ca e. (Y                                                      a     ef        CM-015.)
       Da e: Ma ch 7, 2022
             Tali ha S. Gal a
                                       (TYPE OR PRINT NAME)                                                                               (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                                           NOTICE
         • Plai iff m       file hi c e hee i h he fi        a e filed i he ac i        ceedi g (e ce    mall claim ca e    ca e filed
                 de he P ba e C de, Famil C de, Welfa e a d I i i             C de). (Cal. R le f C     , le 3.220.) Fail e file ma e                                                                           l
              i a ci      .
         •    File hi c e hee i addi i         a c e hee e i ed b l cal c              le.
         •    If hi ca e i c m le       de le 3.400 e e . f he Calif ia R le f C           ,   m      e eac         f hi c e hee      all
                 he a ie        he ac i      ceedi g.
         •    U le    hi i a c llec i    ca e de      le 3.740 a c m le ca e, hi c e hee ill be ed f               a i ical    e    l .
                                                                                                                                                                                                    P       1   2
        F m Ad ed f Ma da          U e                                                                                                                 Cal. R le f C     , le 2.30, 3.220, 3.400 3.403, 3.740;
          J dicial C  cil f Calif ia                                                 CIVIL CASE COVER SHEET                                                    Cal. S a da d f J dicial Admi i a i , d. 3.10
        CM-010 [Re .Se embe 1, 2021]
                                                                                                                                                                               Exhibit A - 065
                                                                                                                                                                                                .c    .ca.g
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 67 of 78 Page ID #:73

                                 INSTRUCTIONS ON HO               TO COMPLETE THE COVER SHEET                                                      CM-010
T P                   O         F       F       P       . If     a e fili g a fi      a e (f e am le, a c m lai ) i a ci il ca e,
c m le e a d file, al g i h               fi     a e , he Ci il Ca e C e Shee c ai ed                  age 1. Thi i f ma i         ill be ed c m ile
   a i ic ab        he     e a d mbe              f ca e filed. Y m          c m le e i em 1 h gh 6             he hee . I i em 1,         m     check
      b f he ca e             e ha be de c ibe he ca e. If he ca e fi b h a ge e al a d a m e ecific                          e f ca e li ed i i em 1,
check he m e ecific e. If he ca e ha m l i le ca e f ac i , check he b                               ha be i dica e he                  ca e f ac i .
T a i           i c m le i g he hee , e am le f he ca e ha bel g de each ca e                                e i i em 1 a e       ided bel . A c e
  hee m       be filed l i h              i i ial a e . Fail e file a c e hee i h he fi                a e filed i a ci il ca e ma         bjec a a ,
i c        el, b h          a ci           de      le 2.30 a d 3.220 f he Calif ia R le f C               .
T P             R       3.740 C                 C      . A "c llec i      ca e" de le 3.740 i defi ed a a ac i f                ec e        fm e        ed
i a m a ed be ce ai ha i                         m e ha $25,000, e cl i e f i e e a d a                   e ' fee , a i i g f m a a ac i i           hich
      e , e ice , m e                a ac i ed           c edi . A c llec i      ca e d e       i cl de a ac i      eeki g he f ll i g: (1)
damage , (2)         i i e damage , (3) ec e              f eal      e , (4) ec e          f e     al      e , (5) a ej dgme              i f
a achme . The ide ifica i              f a ca e a a le 3.740 c llec i             ca e      hi f m mea       ha i ill be e em f m he ge e al
 ime-f - e ice e i eme              a d ca e ma ageme              le , le a defe da file a e                 i e leadi g. A le 3.740 c llec i
ca e ill be bjec            he e i eme            f   e ice a d b ai i g a j dgme i             le 3.740.
T P             C             C      . I c m le ca e            l , a ie m         al      e he Ci il Ca e C e Shee          de ig a e he he he
ca e i c m le . If a lai iff belie e he ca e i c m le                     de     le 3.400 f he Calif ia R le f C          , hi m        be i dica ed b
c m le i g he a             ia e b e i i em 1 a d 2. If a lai iff de ig a e a ca e a c m le , he c e hee m                             be e ed i h he
c m lai        all a ie          he ac i . A defe da ma file a d e e                   la e ha he ime f i fi a ea a ce a j i de i he
  lai iff' de ig a i , a c         e -de ig a i        ha he ca e i          c m le , , if he lai iff ha made           de ig a i , a de ig a i        ha
 he ca e i c m le .                                              CASE T PES AND E AMPLES
 A       T                                          C                                                    P               C            C     L           (C .
     A      (22) Pe      al I j /P e                  B each f C          ac /Wa a       (06)            R         C       R       3.400 3.403)
           Damage/W gf l Dea h                             B each f Re al/Lea e                              A i        /T ade Reg la i (03)
         U i     ed M     i (46) ( f he                         C      ac (         a f de a e               C          c i Defec (10)
          ca e        e a           ed                                        gf e c        )                Claim I         l i g Ma T (40)
                  ca        b ec                           C     ac /Wa a        B each Selle                Sec i ie Li iga i (28)
          ab a      , chec h e                                  Plai iff (     fa d        eg ge ce)         E i me al/T ic T (30)
              ead f A )                                    Neglige B each f C             ac /               I      a ce C e age Claim
 O        PI/PD/ D (P            I     /                        Wa a                                                (a      gf                 a c        e
 P            D        /           D     )                 O he B each f C           ac /Wa a                       ca e        e ed ab e) (41)
 T                                                    C llec i      (e.g., m e         ed, e             E                  J
      A be        (04)                                     b k acc          ) (09)                         E f ceme           f J dgme (20)
        A be        P e Damage                             C llec i Ca e Selle Plai iff                        Ab ac f J dgme (O                   f
        A be        Pe      al I j /                       O he P mi            N e/C llec i                         C         )
              W gf l Dea h                                      Ca e                                       C fe i          f J dgme (          -
      P d c Liabili (        a be                     I      a ce C e age (                     a               d e c ea               )
              c/e         e a ) (24)                       c     e ) (18)                                  Si e S a e J dgme
      Medical Mal ac ice (45)                              A     S b ga i                                  Admi i a i e Age c A a d
          Medical Mal ac ice                               O he C e age                                        (          ad a e )
                Ph icia & S ge                        O he C        ac (37)                                Pe i i /Ce ifica i          fE        f
      O he P fe i al Heal h Ca e                           C     ac al F a d                                    J dgme            U aid Ta e
             Mal ac ice                                    O he C        ac Di       e                     O he E f ceme             f J dgme
      O he PI/PD/WD (23)                            R    P                                                        Ca e
          P emi e Liabili (e.g., li                   Emi e D mai /I e e                                 M                 C      C
                a d fall)                                  C dem a i (14)                                  RICO (27)
          I e i al B dil I j /PD/WD                   W gf l E ic i (33)                                   O he C m lai (                ec f ed
                (e.g., a a l , a dali m)              O he Real P e (e.g., ie i le) (26)                         ab e) (42)
          I e i al I flic i        f                       Wi fP          e i      f Real P e                    Decla a         Relief O l
                Em i al Di e                               M gage F ecl            e                             I j c i e Relief O l (           -
          Neglige I flic i       f                         Q ie Ti le                                                 ha a        e )
                Em i al Di e                               O he Real P e (              e      e                 Mecha ic Lie
          O he PI/PD/WD                                    d a , a d d/ e a ,                                    O he C mme cial C m lai
 N    -PI/PD/ D (O         )T                              f ec        e)                                             Ca e (       - /       -c      e )
      B i e T /U fai B i e                          U         D                                                  O he Ci il C m lai
         P ac ice (07)                                C mme cial (31)                                                 (     - /       -c      e )
      Ci il Righ (e.g., di c imi a i ,                Re ide ial (32)                                    M                 C      P
           fal e a e ) (      c                       D g (38) ( f he ca e              e ega              Pa e hi a d C                 ae
           ha a      e ) (08)                         d g , chec h e ; he                   e,                  G e a ce (21)
      Defama i (e.g., la de , libel)                    e     a C         e ca      Re de a )              O he Pe i i (              ec f ed
            (13)                                    J        R                                                  ab e) (43)
      F a d (16)                                      A e F fei e (05)                                          Ci il Ha a me
      I ellec al P e (19)                             Pe i i Re: A bi a i A a d (11)                            W k lace Vi le ce
      P fe i al Neglige ce (25)                       W i f Ma da e (02)                                        Elde /De e de Ad l
         Legal Mal ac ice                                  W i Admi i a i e Ma dam                                   Ab e
         O he P fe i al Mal ac ice                         W i Ma dam              Limi ed C                    Elec i C e
              (      ed ca      ega )                         Ca e Ma e                                         Pe i i f Name Cha ge
      O he N -PI/PD/WD T (35)                              W i O he Limi ed C            Ca e                   Pe i i f Relief F m La e
 E                                                            Re ie                                                  Claim
      W gf l Te mi a i (36)                           O he J dicial Re ie (39)                                  O he Ci il Pe i i
      O he Em l me (15)                                    Re ie      f Heal h Office O de
                                                           N ice f A eal Lab
                                                                C mmi i e A eal
CM-010 [Re . Se embe 1, 2021]                                                                                                                        P    2    2
                                                            CIVIL CASE COVER SHEET


                                                                                                                               Exhibit A - 066
     Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 68 of 78 Page ID #:74


 SHORT TITLE:                                                                                                        CASE NUMBER




                                              CIVIL CASE COVER SHEET ADDENDUM AND
                                                      STATEMENT OF LOCATION
                               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                               T                                a     L    a R       2.3   a               a                    L      A         S            C       .



           S                   1: Af e comple ing he Ci il Ca e Co e Shee J dicial Co ncil fo m CM                       find he e ac ca e                        pe in
                                   Col mn A ha co e pond o he ca e                     pe indica ed in he Ci il Ca e Co e Shee

            S                  2: In Col mn B check he bo fo he pe of ac ion ha be de c ibe he na                                      e of he ca e

           S                   3: In Col mn C ci cle he n mbe              hich e plain he ea on fo he co                   filing loca ion o ha e
                                   cho en

                                                      A       icab e Rea         f   Ch     i gC        Fi i g L ca i       C              C

1. Class actions must be filed in the Stanle Mosk Courthouse, Central District.                     7. Location here petitioner resides.
2. Permissi e filing in central district.                                                           8. Location herein defendant/respondent functions holl .
3. Location here cause of action arose.                                                             9. Location here one or more of the parties reside.
4. Mandator personal injur filing in North District.                                               10. Location of Labor Commissioner Office.
                                                                                                      Manda o filing loca ion H b Ca e      nla f l de aine limi ed
5. Location here performance required or defendant resides.
                                                                                                   non collec ion limi ed collec ion o pe onal inj
6. Location of propert or permanentl garaged ehicle.




                                              A                                                           B                                                           C
                                    Ci il Case Co er Sheet                                          T pe of Action                                          Applicable Reasons -
                                          Categor No.                                              (Check onl one)                                           See Step 3 Abo e

                                          Auto (22)                  A7100 Motor Vehicle - Personal Injur /Propert Damage/Wrongful Death                   1, 4, 11
   A o
   To




                                   Uninsured Motorist (46)           A7110 Personal Injur /Propert Damage/Wrongful Death            Uninsured Motorist     1, 4, 11


                                                                     A6070 Asbestos Propert Damage                                                         1, 11
                                        Asbestos (04)
                                                                     A7221 Asbestos - Personal Injur /Wrongful Death                                       1, 11
   Damage/ W ongf l Dea h To
   O he Pe onal Inj / P ope




                                     Product Liabilit (24)           A7260 Product Liabilit (not asbestos or to ic/en ironmental)                          1, 4, 11

                                                                     A7210 Medical Malpractice - Ph sicians & Surgeons                                     1, 4, 11
                                   Medical Malpractice (45)
                                                                     A7240 Other Professional Health Care Malpractice                                      1, 4, 11


                                                                     A7250 Premises Liabilit (e.g., slip and fall)
                                                                                                                                                           1, 4, 11
                                       Other Personal
                                       Injur Propert                 A7230 Intentional Bodil Injur /Propert Damage/Wrongful Death (e.g.,
                                                                                                                                                           1, 4, 11
                                      Damage Wrongful                      assault, andalism, etc.)
                                         Death (23)                                                                                                        1, 4, 11
                                                                     A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                           1, 4, 11
                                                                     A7220 Other Personal Injur /Propert Damage/Wrongful Death




   LASC CIV 109 Re . 12/18
                                                                CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2.3

   For Mandator Use
                                                                   AND STATEMENT OF LOCATION                                                               Page 1 of 4

                                                                                                                                                  Exhibit A - 067
  Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 69 of 78 Page ID #:75


SHORT TITLE:                                                                                                CASE NUMBER




                                           A                                                        B                                              C Applicable
                                 Ci il Case Co er Sheet                                        T pe of Action                                   Reasons - See Step 3
                                       Categor No.                                            (Check onl one)                                         Abo e

                                   Business Tort (07)           A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1, 2, 3
  Damage/ W ongf l Dea h To




                                    Ci il Rights (08)           A6005 Ci il Rights/Discrimination                                               1, 2, 3
  Non-Pe onal Inj / P ope




                                    Defamation (13)             A6010 Defamation (slander/libel)                                                1, 2, 3

                                       Fraud (16)               A6013 Fraud (no contract)                                                       1, 2, 3

                                                                A6017 Legal Malpractice                                                         1, 2, 3
                              Professional Negligence (25)
                                                                A6050 Other Professional Malpractice (not medical or legal)                     1, 2, 3

                                       Other (35)               A6025 Other Non-Personal Injur /Propert Damage tort                             1, 2, 3

                               Wrongful Termination (36)        A6037 Wrongful Termination                                                      1, 2, 3
        Emplo men




                                                                A6024 Other Emplo ment Complaint Case                                           1, 2, 3
                                 Other Emplo ment (15)
                                                                A6109 Labor Commissioner Appeals                                                10

                                                                A6004 Breach of Rental/Lease Contract (not unla ful detainer or rongful
                                                                                                                                                2, 5
                                                                      e iction)
                              Breach of Contract/ Warrant                                                                                       2, 5
                                          (06)                  A6008 Contract/Warrant Breach -Seller Plaintiff (no fraud/negligence)
                                    (not insurance)                                                                                             1, 2, 5
                                                                A6019 Negligent Breach of Contract/Warrant (no fraud)
                                                                                                                                                1, 2, 5
                                                                A6028 Other Breach of Contract/Warrant (not fraud or negligence)

                                                                A6002 Collections Case-Seller Plaintiff                                         5, 6, 11
        Con ac




                                    Collections (09)
                                                                A6012 Other Promissor Note/Collections Case                                     5, 11
                                                                A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                5, 6, 11
                                                                      Purchased on or after Januar 1, 2014)

                                Insurance Co erage (18)         A6015 Insurance Co erage (not comple )                                          1, 2, 5, 8

                                                                A6009 Contractual Fraud                                                         1, 2, 3, 5
                                  Other Contract (37)           A6031 Tortious Interference                                                     1, 2, 3, 5
                                                                A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8, 9

                                Eminent Domain/In erse
                                                                A7300 Eminent Domain/Condemnation               Number of parcels               2, 6
                                  Condemnation (14)

                                 Wrongful E iction (33)         A6023 Wrongful E iction Case                                                    2, 6
        Real P ope




                                                                A6018 Mortgage Foreclosure                                                      2, 6
                                Other Real Propert (26)         A6032 Quiet Title                                                               2, 6
                                                                A6060 Other Real Propert (not eminent domain, landlord/tenant, foreclosure)     2, 6

                              Unla ful Detainer-Commercial
                                                                A6021 Unla ful Detainer-Commercial (not drugs or rongful e iction)              6, 11
                                          (31)
        Unla f l De aine




                              Unla ful Detainer-Residential
                                                                A6020 Unla ful Detainer-Residential (not drugs or rongful e iction)             6, 11
                                          (32)
                                  Unla ful Detainer-
                                                                A6020F Unla ful Detainer-Post-Foreclosure                                       2, 6, 11
                                 Post-Foreclosure (34)

                              Unla ful Detainer-Drugs (38)      A6022 Unla ful Detainer-Drugs                                                   2, 6, 11



                                                              CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
 LASC CIV 109 Re . 12/18
                                                                 AND STATEMENT OF LOCATION                                                      Page 2 of 4
 For Mandator Use
                                                                                                                                          Exhibit A - 068
  Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 70 of 78 Page ID #:76


SHORT TITLE:                                                                                                             CASE NUMBER




                                                     A                                                        B                                 C Applicable
                                          Ci il Case Co er Sheet                                        T pe of Action                       Reasons - See Step 3
                                                Categor No.                                            (Check onl one)                             Abo e

                                           Asset Forfeiture (05)          A6108 Asset Forfeiture Case                                        2, 3, 6

                                        Petition re Arbitration (11)      A6115 Petition to Compel/Confirm/Vacate Arbitration                2, 5
     J dicial Re ie




                                                                          A6151 Writ - Administrati e Mandamus                               2, 8
                                           Writ of Mandate (02)           A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                          A6153 Writ - Other Limited Court Case Re ie                        2

                                        Other Judicial Re ie (39)         A6150 Other Writ /Judicial Re ie                                   2, 8

                                      Antitrust/Trade Regulation (03)     A6003 Antitrust/Trade Regulation                                   1, 2, 8
     P o i ionall Comple Li iga ion




                                         Construction Defect (10)         A6007 Construction Defect                                          1, 2, 3

                                        Claims In ol ing Mass Tort
                                                                          A6006 Claims In ol ing Mass Tort                                   1, 2, 8
                                                   (40)

                                         Securities Litigation (28)       A6035 Securities Litigation Case                                   1, 2, 8

                                                To ic Tort
                                                                          A6036 To ic Tort/En ironmental                                     1, 2, 3, 8
                                            En ironmental (30)

                                       Insurance Co erage Claims
                                                                          A6014 Insurance Co erage/Subrogation (comple case onl )            1, 2, 5, 8
                                         from Comple Case (41)

                                                                          A6141 Sister State Judgment                                        2, 5, 11
                                                                          A6160 Abstract of Judgment                                         2, 6
  Enfo cemen
  of J dgmen




                                               Enforcement                A6107 Confession of Judgment (non-domestic relations)              2, 9
                                             of Judgment (20)             A6140 Administrati e Agenc A ard (not unpaid ta es)                2, 8
                                                                          A6114 Petition/Certificate for Entr of Judgment on Unpaid Ta       2, 8
                                                                          A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                RICO (27)                 A6033 Racketeering (RICO) Case                                     1, 2, 8
  Ci il Complain




                                                                          A6030 Declarator Relief Onl                                        1, 2, 8
   Mi cellaneo




                                            Other Complaints              A6040 Injuncti e Relief Onl (not domestic/harassment)              2, 8
                                        (Not Specified Abo e) (42)        A6011 Other Commercial Complaint Case (non-tort/non-comple )       1, 2, 8
                                                                          A6000 Other Ci il Complaint (non-tort/non-comple )                 1, 2, 8

                                         Partnership Corporation
                                                                          A6113 Partnership and Corporate Go ernance Case                    2, 8
                                            Go ernance (21)

                                                                          A6121 Ci il Harassment With Damages                                2, 3, 9
                                                                          A6123 Workplace Harassment With Damages                            2, 3, 9
  Ci il Pe i ion
  Mi cellaneo




                                                                          A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                           Other Petitions (Not
                                          Specified Abo e) (43)           A6190 Election Contest                                             2
                                                                          A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                          A6170 Petition for Relief from Late Claim La                       2, 3, 8
                                                                          A6100 Other Ci il Petition                                         2, 9




                                                                        CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Re . 12/18
                                                                           AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandator Use
                                                                                                                                         Exhibit A - 069
    Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 71 of 78 Page ID #:77


SHORT TITLE:                                                                            CASE NUMBER




S        4: S a e e        f Rea  a d Add e Check he app op ia e bo e fo he n mbe ho n nde Col mn C fo he
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     REASON:

         1.    2.   3.   4.   5.   6.   7.   8.   9.   10.    11.



     CITY:                                   STATE:     ZIP CODE:




S        5: Ce ifica i         f A ig      e : I ce if ha hi ca e i p ope l filed in he                                              Di    ic of
              he S pe io Co        of Califo nia Co n of Lo Angele Code Ci P oc                  e eq and Local R le             a        E




    Dated:
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




    PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
    COMMENCE YOUR NEW COURT CASE:

         1. Original Complaint or Petition.
         2. If filing a Complaint, a completed Summons form for issuance b the Clerk.
         3. Ci il Case Co er Sheet, Judicial Council form CM-010.

         4. Ci il Case Co er Sheet Addendum and Statement of Location form, LACIV 109, LASC Appro ed 03-04 (Re .
            02/16).
         5. Pa ment in full of the filing fee, unless there is court order for ai er, partial or scheduled pa ments.
         6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 ears of age ill be required b Court in order to issue a summons.

         7. Additional copies of documents to be conformed b the Clerk. Copies of the co er sheet and this addendum
            must be ser ed along ith the summons and complaint, or other initiating pleading in the case.




                                             CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
    LASC CIV 109 Re . 12/18
                                                AND STATEMENT OF LOCATION                                                  Page 4 of 4
    For Mandator Use
                                                                                                                   Exhibit A - 070
           Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 72 of 78 Page ID #:78
Electronically FILED by Superior Court of California, County of Los Angeles on 03/08/2022 02:28 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. So,Deputy Clerk




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                          2 Shant A. Karnikian, SBN 285048
                             sk@kbkla ers.com
                          3 Talitha S. Galst an, SBN 334289
                              tg@kbkla ers.com
                          4 KABATECK LLP
                            633 West 5th Street, Suite 3200
                          5 Los Angeles, California 90071
                            Tel: (213) 217-5000
                          6 Fa : (213) 217-5010

                          7 A                       Pa            SPRING AWAKENING, LLC.
                          8

                          9                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        10                            COUNT OF LOS ANGELES UNLIMITED JURISDICTION
                        11

                        12 SPRING AWAKENING, LLC,                                                            CASE NO.               22STCV08211
                        13                            Plaintiff,                                             PLAINTIFFS NOTICE OF POSTING
                                                                                                             JUR FEES
                        14                 vs.
                        15 CERTAIN UNDERWRITERS AT LLOYD S,
                           LONDON; REEL MEDIA INSURANCE
                        16 SERVICES, LLC, and DOES 1 to 50,
                           inclusive,
                        17
                                      Defendants.
                        18

                        19

                        20
                               TO ALL PARTIES AND THEIR ATTORNE S OF RECORD:
                        21
                                           PLEASE TAKE NOTICE that Plaintiff SPRING AWAKENING, LLC, hereb deposits
                        22
                               jur fees in the amount of $150.00 (One Hundred Fift Dollars and No Cents) in the above
                        23
                               captioned matter.
                        24

                        25
                               Dated: March 8, 2022                                                 KABATECK LLP
                        26
                                                                                                    BY:         _________________________________
                        27                                                                                      Talitha S. Galst an
                                                                                                                Attorne for Plaintiffs
                        28

                                                                            PLAINTIFF S COMPLAINT FOR DAMAGES

                                                                                                                                                        Exhibit A - 071
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 73 of 78 Page ID #:79


                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 Spring Awakening, LLC
 DEFENDANT:
 Certain Underwriters at Lloyd's, London et al
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             22STCV08211
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             07/19/2022                9:00 AM                  16

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule . , Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        03/30/2022
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Shant Arthur Karnikian
     633 W 5th St
     Ste 3200
     Los Angeles, CA 90071                                                 Sherri R. Carter, Executive Officer / Clerk of Court

Dated: __________________
        03/30/2022                                                                                       V. Ponce
                                                                                                     By ________________________
                                                                                                                 Deputy Clerk
LACIV 132 (Rev. 0 / )                                                                                         Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter Three
                                CASE MANAGEMENT CONFERENCE
                                                                                                                       Exhibit A - 072
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 74 of 78 Page ID #:80


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             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF/PETITIONER:
 Spring Awakening, LLC
 DEFENDANT/RESPONDENT:
 Certain Underwriters at Lloyd's, London et al
                                                                                  CASE NUMBER:
                         CERTIFICATE OF MAILING                                   22STCV08211

 I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
 party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
 each party or counsel named below by placing the document for collection and mailing so as to cause it to
 be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
 filed/entered herein in a separate sealed envelope to each address as shown below with the postage
 thereon fully prepaid, in accordance with standard court practices.




     Shant Arthur Karnikian
     Kabateck LLP
     633 W 5th St
     Ste 3200
     Los Angeles, CA 90071


     Attorney's and self representing litigants may appear via the use of remote technology (including Microsoft
     Teams - LACCCourtConnect).




                                                          Sherri R. Carter, Executive Officer / Clerk of Court
 Dated: 03/30/2022                                        By:   V. Ponce
                                                                Deputy Clerk




                                         CERTIFICATE OF MAILING
                                                                                                    Exhibit A - 073
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 75 of 78 Page ID #:81


                                                                                 R e se r ved f or C ler k ’ s F i le S tam p
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

Spring Awakening, LLC
DEFENDANT(S):

Certain Underwriters at Lloyd's, London et al
                                                                              CASE NUMBER:
                         ORDER TO SHOW CAUSE HEARING
                                                                             22STCV08211

To the party / attorney of record:
You are ordered to appear for an Order to Show Cause Hearing on 07/19/2022 at 9:00 AM                                   in
          16 of his court, Stanley Mosk Courthouse                                                                       ,
and show cause why sanctions should not be imposed for:
[✔]      Failure to file proof of service.

Failure to comply or appear may result in sanctions pursuant to one or more of the following: California
Rules of Court, rule 2.30 and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150,
583.310, 583.360, 583.410, 583.420, 583.430; and Government Code section 68608.

[✔]      To avoid a mandatory appearance all required documents must be filed




          03/30/2022
Dated: _______________                              ____________________________________________
                                                                      Judicial Officer




                                         ORDER TO SHOW CAUSE HEARING
LACIV 166 (Rev. 09/08)                                                                    Cal. Rules of Court, rule 2.30
LASC Approved 06-04                                                                       LASC Local Rules, Chapter 7



                                                                                              Exhibit A - 074
Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 76 of 78 Page ID #:82


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             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF/PETITIONER:
 Spring Awakening, LLC
 DEFENDANT/RESPONDENT:
 Certain Underwriters at Lloyd's, London et al
                                                                            CASE NUMBER:
                         CERTIFICATE OF MAILING                             22STCV08211

 I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
 party to the cause herein, and that on this date I served the Order to Show Cause Failure to File Proof of
 Service upon each party or counsel named below by placing the document for collection and mailing so as
 to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
 of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
 postage thereon fully prepaid, in accordance with standard court practices.




     Shant Arthur Karnikian
     Kabateck LLP
     633 W 5th St
     Ste 3200
     Los Angeles, CA 90071




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
 Dated: 03/30/2022                                    By:   V. Ponce
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
                                                                                              Exhibit A - 075
     Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 77 of 78 Page ID #:83

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         Case Number:                         22STCV08211
         Case Title:                          SPRING AWAKENING, LLC VS CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, ET AL.
         Case Type:                           CIVIL
         Filing Date:                         03/07/2022


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           1                             3/30/2022                                                                     1-2                                ?     Preview                    2
                                                                       File Proof of Service

                                                                       Notice of Case Management
           2                             3/30/2022                                                                     1-2                                ?     Preview                    2
                                                                       Conference


           3                             3/8/2022                      Notice of Posting of Jury Fees                  1-1                                ?     Preview                    1


           4                             3/7/2022                      Complaint                                       1-40                               ?     Preview                  40


           5                             3/7/2022                      Civil Case Cover Sheet                          1-6                                ?     Preview                    6


                                                                       Notice of Case Assignment -
           6                             3/7/2022                                                                      1-2                                ?     Preview                    2
                                                                       Unlimited Civil Case

                                                                       Voluntary Eﬃcient Litigation
           7                             3/7/2022                                                                      1-12                               ?     Preview                  12
                                                                       Stipulation Packet

                                                                       Unknown - FIRST AMENDED
           8                             3/7/2022                      GENERAL ORDER RE:                               1-7                                ?     Preview                    7
                                                                       MANDATORY ELECTRONIC FILING


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                                                                                                                                                                      Exhibit A - 076
     Case 2:22-cv-02273-GW-AFM Document 1-1 Filed 04/05/22 Page 78 of 78 Page ID #:84

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            9                                3/7/2022                                                            1-2                         ?   Preview                    2
                                                                 RESOLUTION PACKET

                                                                 Summons - SUMMONS ON
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                                                                                                                                                       Exhibit A - 077
